Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 1 of 42

 

   
  
  
   
  
   
   
   
   
    
  
  
  
  
  
  
  
 

Page 303
IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT

IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP,
Defendant.

BDO SEIDMAN, LLP,
Third-Party Plaintiff,
vs.
VICTOR BALESTRA, BERNARD MOLLET, JOAQUIN GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPIANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANI,
Third-Party Defendants.

PAGES 303 - 466

Volume 4

AFTERNOON SESSION
Miami, Florida
Wednesday, April 11, 2007

1:30 p.m.

Before the Honorable Jose M. Rodriguez

Reported by: Gizella "Gigi" Baan

     
 

 
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 2 of 42

2 (Pages 304 to 307)

 

 

Page 304 Page 306 ff
1 APPEARANCES 1 On behalf of Third-Party Defendants Victor Balestra,
2 2 Bernard Mollet, and Joaquin Garnecho
3 On behalf of the Plaintiffs BANCO ESPIRITO SANTO 3 ;
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25 25
Page 305 Page 3071
1 On behalf of Defendant BDO Seidman, LLP: 1 CONTENTS
2 2
3 ALVAREZ, ARMAS & BORRON 3. EXAMINATION OF LEWIS B. FREEMAN BY: PAGE: i
4 901 Ponce de Leon Boulevard, Suite 304 4 MR. THOMAS: (Direct, cont'd) 325
5 Coral Gables, Florida 33134 5 MR. SCHNAPP: (Voir dire) 354 :
6 (305) 461-5100 6 MR. THOMAS: (Direct, cont'd) 361 B
7 BY: Arturo Alvarez, Esquire 7 MR. SCHNAPP: (Voir dire) 456
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20 Nikki Simon, Esquire 20
21 21 :
22 22 :
23 :

 

 

 
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 3 of 42

Page 360

16 (Pages 360 to 363)

    
  
  
 
 
 
 
 
 
 
 
 
 
 
 

Page 362

 

1 MR. SCHNAPP: There are only a few more that 1 Q. And Mr. Freeman, who were the day-to-day
2 Thave to doit. 2 managers, people who ran the business of E.S. Bankest?
3 THE COURT: That's fine. 3 A. These five people.
4 THE CLERK: Bring them in? 4 Q. Ifyou look at the re: Line, Mr. Freeman,
5 THE COURT: Yes. 5 it says, "Re: 5-23-01 meeting with BDO Seidman, LLC."
6 THE CLERK: All rise for the jury. 6 Do you see that?
7 (Thereupon, the jury was brought into the 7 A. Yes, sir.
8 courtroom.) 8 Q. And the first line it says, "Yesterday I
9 THE COURT: AU right, ladies and gentlemen, 9 attended a meeting of BDO at Sandy Lenner's office."
10 there's one thing you can say is that you're going to 10 Do you see that?
11 get some exercise so you can eat all you want. Now 11 A. Yes, sir.
12 Mr. Thomas. 12 Q. Now, Mr. Freeman, in the next paragraph,
13 MR. THOMAS: Your Honor, at this time 13 referenced in attendance at the meeting were Sandy, Dave FF
14 Plaintiff Espirito Santo moves into evidence Plaintiffs’ 14 Larson of BDO's Star Wagon, we've already discussed, and i
15 Exhibit Number 471. 15 Michael G. O'Hare. Based on your investigation, who is
16 MR. SCHNAPP: Objection. Hearsay. There's 16 Michael G. O'Hare?
17 no predicate for the admissibility. 17 A. An employee of BDO Seidman.
18 THE COURT: At this time, 471 marked for ID 18 Q. If you look at the next two sentences it
19 is going to be accepted into evidence as Plaintiffs’ 19 _ says, "He sits on the board of the parent company and he
20 Exhibit 471 into evidence over defense objection. You 20 is an executive director and he is the highest ranking
21. want to take care of 439? 21 corporate officer relating to non-accounting BDO
22 MR. THOMAS: Plaintiffs move into evidence 22 companies such as Star Wagon."
23 Plaintiffs’ Exhibit Number 439 at this time as well, 23 Did I read that correctly?
24 Your Honor. 24 A. Yes.
25 MR. SCHNAPP: No objection. 25 Q. If you look down to the next paragraph, it
Page 361 Page 363
1 THE COURT: Without objection, Plaintiffs’ 1 says, ''The meeting was held to finally negotiate the
2 Exhibit 439 as ID is moved into evidence. 2 final terms of the StrataSys BDO Star Wagon alliance
3 DIRECT EXAMINATION (continued) 3 agreement (graph attached), StrataSys was represented by
4 BY MR. THOMAS: 4 its president, Howard Cantor and I as director."
5 Q. If we can look at the top of this document. 5 Do you see that?
6 Is this the document that you found on the premises of 6 A. Yes.
7 E.S. Bankest when you took over your duties? 7 Q. And who was Howard Cantor?
8 A. Yes, this is. 8 A. He was the president of StrataSys.
9 Q. Who is Eduardo Orlansky? 9 Q. Sorry. Ihave a little mic problem. Sorry
10 A. One of the owners and shareholders of 10 about that, ladies and gentlemen. You should hear me
11 Bankest Capital and E.S. Bankest. 11. better and I shouldn't scratch when I walk.
12 Q. And who is Hector Orlansky? 12 It says here, if you look down, "I've been
13 A. Same answer. 13 working with Sandy and Larson to achieve an acceptable
14 Q. Is he Eduardo's brother? 14 alliance agreement. We reached final agreement
15 A. He's Eduardo's brother. Also a stockholder. 15 yesterday and are shooting for an executed agreement by
16 Q. Who is R. Peter Stanham? 16 = 5-31-01."
17 A. Mr. Stanham was an officer of the company 17 Based on your investigation, Mr. Freeman,
18 also. 18 did BDO and StrataSys enter into an agreement?
19 Q. Of both Capital and E.S. Bankest? 19 A. Yes, they did.
20 A. Yes, sir. 20 Q. If you look at the next sentence,
21 Q. Who is Carlos Mendez? 21 Mr. Freeman, of the memo.
22 A. Same answer. Of both Bankest Capital and 22 A. Yes, sir.
23 ~_~ES. Bankest. 23 Q. Itsays, "BDO estimates it will originate
24 Q. And who is Dominick Parlapiano? 24 more than 10 million dollars in business to the :
25 A. Officer of both companies, also. 25  StrataSys BDO Star Wagon alliance over the next 12 ;

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 4 of 42

17 (Pages 364 to 367)

 

Page 364

    
   
  
   
   
  
   
   
   
  
  
   
   
   
   
   

Page 366 £

 

 

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companies, BDO sees an opportunity to provide cash flow

 

 

1 ~=months." 1 financing services to its clients and that of companies
2 Is that statement consistent with your 2 who are members of the BDO alliances.”
3 investigation about the amount of money BDO would 3 Did I read that correctly?
4 estimate it would make from the Star Wagon alliance? 4 A. Yes, sir.
5 MR. SCHNAPP: Objection, no predicate, lack 5 Q. And if -- can we put that up and put the
6 of personal knowledge, 701, 403. 6 next paragraph there on the screen? If you can just put
7 THE COURT: Overruled. 7 ~~ the next two up there.
8 THE WITNESS: Yes. That's consistent with 8 (Technician complies.)
9 my investigation. 9 It says that "Mr. O'Hare was clear in that
10 BY MR. THOMAS: 10 BDO does not intend to take principal risk (credit or
11 Q. Now, Mr. Freeman, what did your 11 client risk) and it will not use its own balance sheet
12 investigation show BDO Seidman made when it did audits §12 to access what Mr. O'Hare stated to be about a two
13 like the one of E.S. Bankest? 13 hundred million dollar a year accounts receivable based
14 A. Inthe range of anywhere from 25 to 60 14 cash flow lending which BDO's finance company partner
15 _ thousand dollars, a lot less in fees. 15 would fund."
16 Q. And do you know the approximate amount of 16 Did I read that correctly?
17 fees they received from the audits of E.S. Bankest? 17 A. Yes, sir.
18 A. Yes. 18 Q. I'm going to ask you, Mr. Freeman, to please
19 Q. And what was that? 19 look at Plaintiffs’ Exhibit 415-B, Mr. Lenner's good guy
20 A. As] just stated, I don't think it was ever 20 memo.
21 more than 50, 60 thousand dollars in the best year. 21 A. (Complies).
22 Q. And Mr. Freeman, if BDO received 20 -- 22 Q. And look at page 2. Can we go to that? I'm
23 anticipated they would receive 20 percent in their share 23 going to ask Mr. Freeman to wait just a moment so our
24 of the profits from the 10 million, how much would that 24 technology can catch up with what you're doing there.
25 be? 25 (Technician complies.)
Page 365 Page 367 ;
1 MR. SCHNAPP: Objection, Your Honor, 1 Based on your investigation as the
2 argumentative. 2  Court-appointed receiver of E.S. Bankest, did you
3 THE COURT: Sustained. 3 _ conelude, Mr. Freeman, that the factoring alliance
4 BY MR. THOMAS: 4 referenced in Mr. Lenner's memo is the same two hundred
5 Q. Mr. Freeman, what's 20 percent of 10 5 million dollar a year business referenced in this
6 million? 6 memorandum?
7 MR. SCHNAPP: Same objection, Your Honor. 7 MR. SCHNAPP: Objection under 604, 701, 702.
8 THE COURT: Sustained. 8 There's no personal knowledge. No foundation.
9 BY MR. THOMAS: 9 THE COURT: Overruled.
10 Q. Mr. Freeman, based on your investigation, 10 THE WITNESS: Yeah. The memos tie in. The
11 how much did BDO estimate it would make fromreferrals §}11 May 24th memo with the Lenner memo that was dated for
12 __ when it entered into the agreement with StrataSys? 12 the year-end June 30, '01.
13 MR. SCHNAPP: Objection. No foundation, no 13 MR. THOMAS: Can we go back, please, to 471?
14 predicate, lack of personal knowledge. 14 (Technician complies.)
15 THE COURT: Overruled. 15 BY MR. THOMAS:
16 THE WITNESS: Based on my investigation, 16 Q. And if we can go to the next page, please.
17 about 2 million dollars a year in fees. 17 (Technician complies.)
18 BY MR. THOMAS: 18 I don't want to stop you from any review of :
19 Q. Mr. Freeman, if you look down to the next 19 the memo, Mr. Freeman, but I'm going to take you down to :
20 paragraph, it says, "Separately Sandy asked Mr. O'Hare 20 the paragraph that begins lastly, it says lastly. No. ;
21 to mention his efforts related to establishing a BDO 21 ~~ I'msorry. I explained. I explained. :
22 finance company. Given BDO's insights into how 22 A. Okay. :
23 difficult -- into the now difficult and getting tougher 23 Q. Thank you. :
by the day cash flow environments of small and mid-size 24 (Technician complies.) :

    

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‘m sorry. We do need to go to the lastly.
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 5 of 42

(18 (Pages 368 to 371)

 

 

Page 368 Page 370 F
1 Do you mind highlighting lastly, too, please? 1 What's the date of this memo?
2 (Technician complies.) 2 A. July 27, 2001.
3 Thank you so much. 3 Q. And would two years before 2001 be 1999?
4 You see the paragraph beginning lastly? It 4 A. Yes.
5 says, "Lastly after our meeting this morning, I called 5 Q. And, Mr. Freeman, when did BDO conduct the
6 Sandy to tell him of Eduardo's idea of having BDO sell 6 first audit of E.S. Bankest?
7 the cash flow financing services to their client for a 7 A. 198.
8 fee, call it a brokerage or a service fee, et cetera. I 8 Q. And when they audited for the year 1998,
9 explained that if E.S. Bankest compensates BDO, that the 9 when would they start their work?
10 required disclosure, let alone the possible need to 10 A. It might have started in the end of '98 but
11 replace BDO as our auditor due to the conflict, were 11 usually most of the work is done in early '99.
12 ~~ deal killers for us." 12 Q. So according to what BDO wrote here, at the
13 Did I read that correctly? 13 time of the very first audit of E.S. Bankest, Mr. Lenner
14 A. Yes, you did. 14 attempted to start a relationship with StrataSys. Was
15 Q. Mr. Freeman, was BDO ever able to enter into 15 that your understanding based on your investigation?
16 a factoring alliance with its own audit client, E.S. 16 MR. SCHNAPP: Objection. Argumentative.
17 Bankest, or was that a deal killer? 17 Lack of personal knowledge.
18 MR. SCHNAPP: Objection. I object to that. 18 THE COURT: Sustained. Rephrase the
19 There's no foundation. 19 question.
20 THE COURT: Sustained. 20 MR. THOMAS: I will. Thank you, Your Honor.
21 MR. SCHNAPP: Compound question. 21 BY MR. THOMAS:
22 BY MR. THOMAS: 22 Q. Mr. Freeman, when did you understand that
23 Q. Based on your investigation as the 23 Mr. Lenner first tried to form a relationship between
24 Court-appointed receiver, did you determine whether or 24  Bankest client StrataSys and BDO Seidman?
25 not BDO Seidman was able to enter into the 200 million 25 MR. SCHNAPP: Objection under Rule 604, Your
Page 369 Page 371
1 dollar a year factoring alliance with its own audit 1 Honor.
2 client? 2 THE COURT: Overruled.
3 MR. SCHNAPP: I object. No foundation. 3 THE WITNESS: My investigation showed about
4 701, 702, 403. 4 1999.
5 THE COURT: Overruled. 5 BY MR. THOMAS:
6 THE WITNESS: My investigation never found 6 Q. Mr. Freeman, if you would please turn to
7 that type of arrangement. 7 ~~ page 3 of this document.
8 BY MR. THOMAS: 8 A. (Complies).
9 Q. Thank you, Mr. Freeman. 9 Q. And if we look in the middle of the page it
10 Now, Mr. Freeman, if could you please look 10 discusses the license fee for StrataSys.
11 at Plaintiffs’ Exhibit Number 439 in evidence. 11 A. Yes.
12 A. (Complies). 12 Q. And it states the license fee for StrataSys
13 Q. If we could go to the top. 13 _ is established at 48 thousand for year one, 70 thousand
14 Mr. Freeman, do you understand this to be a 14 (sic) for year two, and 75 thousand for year three.
15 BDO document? 15 Based on your investigation did you
16 A. Yes, sir. 16 understand those to be the initial fees set forth for
17 Q. And do you understand that it was written by 17  StrataSys to pay BDO to use the BDO name?
18 aBDOemployee, Dave Larson? 18 A. I think you're incorrect. You stated year
19 A. That's what it says, yes, sir. 19 one (sic) it was 70 and it says 75.
20 Q. And if we look at the very beginning of the 20 Q. Thank you, Mr. Freeman. With that
21 memo, Mr. Larson of BDO writes, "Sandy Lenner, BDO § 21 correction, is that your understanding?
22 Miami, introduced us to StrataSys. Sandy first tried to 22 A. Yes.
23 make this introduction over two years ago but the Wave 23 Q. Now, based on your investigation,
24 Bend personnel and John Higgins declined to pursue the [24 Mr. Freeman, was StrataSys even able to pay these
25 relationship." 25 amounts?

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 6 of 42

19 (Pages. 372 to 375)

 

Page 372

  
  
    
  
   
   
  
  
   
  
  
  
  
   
  
 

Page 374

 

1 A. They didn't pay them all, no, sir. 1 and I will help"?
2 Q. Based on your investigation, did you find 2 A. Yes.
3 __ that StrataSys was having financial difficulty and 3 Q. Based on your investigation, did you
4 wasn't even able to pay its own license fees? 4 understand that at this time StrataSys was not timely
5 MR. SCHNAPP: Objection, Your Honor, 5 paying its invoices for its license fee?
6 hearsay, lack of foundation and 604. 6 MR. SCHNAPP: Objection, lack of personal
7 THE COURT: Overruled. 7 knowledge. Hearsay.
8 THE WITNESS: Yeah. There were several 8 THE COURT: Overruled.
9 adjustments to the alliance agreement which took the 9 THE WITNESS: That's correct.
10 amount of the fee that they were supposed to pay yearly 10 BY MR. THOMAS:
11 = and reduced it. 11 Q. And if you look at the next page -- sorry.
12 MR. THOMAS: May IJ approach the witness with J12 Ihave BDO 18000.
13 —‘~ Plaintiffs’ marked for ID 7297? 13 (Technician complies.)
14 THE COURT: You may. What's the number 14 You understand this to be an e-mail from now
15 again? 15 this time Dave Larson to Sandy Lenner?
16 MR. THOMAS: 7297, Your Honor, for ID. 16 A. Yes.
17 BY MR. THOMAS: 17 Q. 'When I speak to him today I will tell him
18 Q. Mr. Freeman, as part of your duties as the . 18 that he promised me twice prior that the check was in
19  Court-appointed receiver, did you receive documents 19 the mail"?
20 produced by BDO Seidman? 20 A. Yes.
21 A. Yes, I did. 21 Q. Yousee that? Is that confirmed by your
22 Q. Included in those documents, Mr. Freeman, 22 investigation?
23 were those documents including Plaintiffs’ Exhibit 23 A. Yes, itis.
24 marked for ID 7297? 24 MR. THOMAS: May I approach the witness with
25 A. Yes. 25 ~~ Plaintiffs' Exhibit 452 marked for ID?
Page 373 Page 375)
1 Q. And did you rely upon these documents to 1 THE COURT: You may.
2 carry out your duties as appointed by the Court? 2 MR. THOMAS: (Complies).
3 A. Yes. 3. BY MR. THOMAS:
4 Q. And have you kept them in the regular course 4 Q. Mr. Freeman, as part of your duties as the
5 of your business activities as a receiver since that 5 Court-appointed receiver of E.S. Bankest, did you
6 date? 6 receive Plaintiffs’ Exhibit Number 452 marked for ID?
7 A. Yes, I have. 7 A. Yes, I did.
8 MR. THOMAS: Plaintiffs move into evidence 8 Q. And Mr. Freeman, did you rely upon it to
9 Plaintiffs’ Exhibit marked for ID 7297. 9 carry out your duties as appointed by the Court?
10 MR. SCHNAPP: May I just have a moment? I 10 A. Yes.
11 may not have an objection. 11 Q. And Mr. Freeman, have you kept Plaintiffs’
12 MR. SCHNAPP: No objection, Your Honor. 12 Exhibit Number 452 marked for ID in the regular course
13 THE COURT: Plaintiffs' Exhibit 7297 for 13 of your business since that time?
14 identification is now Plaintiffs' 7297 in evidence. 14 A. Yes, Ihave.
15 BY MR. THOMAS: 15 MR. THOMAS: At this time, Plaintiffs move
16 Q. Mr. Freeman, if you would please look at the 16 into evidence Plaintiffs’ 452.
17 first page of Plaintiffs’ Exhibit 7297 now in evidence. 17 MR. SCHNAPP: We object. None of the
18 A. (Complies). 18 predicate is required for establishing admissibility
19 Q. Just one moment. Do you understand this to 19 under rule 8036. It established here that it's made at
20 bean e-mail from Sandy Lenner to Dave Larson? 20  oratime.
21 A. Yes. 21 MR. THOMAS: Objection, Your Honor, to a
22 Q. Dated November Ist, 2001? 22 speaking objection.
23 A. Yes, sir. 23 THE COURT: Anything else?
24 Q. And you see where it says, "I called and 24 MR. SCHNAPP: Your Honor, there's nothing in
25 25 there to show that it was transmitted by a person with

 

 

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left a strong voice mail to pay. Please keep me posted

  

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 7 of 42

20 (Pages 376 to 379)

 

 

Page 376 Page 378
1 knowledge, that it was kept in the regular course of the 1 the jury?
2 business activity, and that it was a regular practice of 2 A. That's the date it was signed, yes, sir.
3 the business to make such a record. Furthermore, it's 3 Q. Soon February 14th, 2003, Mr. Freeman, BDO
4 generally hearsay and contains hearsay within hearsay. 4 understood that StrataSys had missed payroll but in
5 THE COURT: Overruled. Plaintiffs’ Exhibit 5 April BDO issued audited financials stating that there
6 452 marked for ID is now marked into evidence as 6 was 45 million dollars in good accounts receivable from
7 ~~ Plaintiffs’ Exhibit 452 into evidence. 7 ~~ StrataSys?
8 BY MR. THOMAS: 8 MR. SCHNAPP: Objection, argumentive. Move
9 Q. Ifyou'll look at the top, Mr. Freeman. 9 to strike.
10 A. Yes, sir. 10 THE COURT: Sustained.
11 Q. Do you see that this is an e-mail from 11 BY MR. THOMAS:
12 Dominick Parlapiano to Carlos Mendez? 12 Q. Mr. Freeman, based on your investigation as
13 A. Yes, sir. 13 the Court-appointed receiver, did you understand that
14 Q. And if we look at the e-mail it says -- I'm 14 the bottom box, the note from BDO's audited finances was
15 sorry, dated February 14th, 2003? 15 BDO certifying that there was 45 million dollars in
16 A. Yes. 16 accounts receivable from StrataSys?
17 Q. And it says, "I just wanted to let you see 17 A. Yes.
18 that notwithstanding BDO's Miami office managing partner 18 Q. And based on your investigation at the same
19 = Albert Lopez’ concerns due to his learning that one of 19 time BDO was certifying that there was 45 million
20. StrataSys strategic consultants which had worked on a 20 dollars in accounts receivable in their alliance partner
21 BDO-referred engagement quit last month when payroll was 21 StrataSys, in fact, was StrataSys missing payroll?
22 missed, and Albert knowing that payroll has been missed 22 MR. SCHNAPP: Objection. No foundation.
23  acouple of times." 23 Lack of personal knowledge. Hearsay and argumentative.
24 Did I read that correctly? (24 THE COURT: Overruled.
25 A. Yes. 25 THE WITNESS: My investigation showed that
Page 377 Page 379
1 Q. Did your investigation confirm that 1 while they were doing the audit, they were missing
2 StrataSys was missing payrolls on or about February 2 payroll in StrataSys in February of '03.
3 14th, 2003? 3 MR. THOMAS: Your Honor, may I approach the
4 MR. SCHNAPP: Objection. No foundation. 4 witness?
5 Hearsay. 5 THE COURT: You may.
6 THE COURT: Overnuled. 6 BY MR. THOMAS:
7 THE WITNESS: Yes. They were missing -- 7 Q. Mr. Freeman, approaching you Plaintiffs'
8 they were in financial difficulty. 8 Exhibit 78 in evidence, and Defendants’ Exhibit 286-A in
9 BY MR. THOMAS: 9 evidence. And that's these two sheets. And I'd like
10 Q. And Mr. Freeman, in this time period, 10  ~=you to keep them together, please.
11 February 14th, 2003, was Albert Lopez the managing 11 Mr. Freeman, if you could please start with
12 partner at BDO's Miami office or at least a senior 12 Plaintiffs' Exhibit Number 78. That's the audited
13 person at that time? 13 financials.
14 A. Yes. 14 A. Okay.
15 Q. Mr. Freeman, could you please look at 15 Q. Did I give you two copies of the same thing?
16 _—~Plaintiffs' Exhibit Number 87 which is the audited 16 A. Yes.
17 financial statements of BDO Seidman? 17 Q. Keep that one. Mr. Freeman, what is this
18 A. (Complies). 18 document?
19 Okay. 19 A. This is BDO Seidman's financial statements
20 Q. Mr. Freeman, the top box is Plaintiffs’ 20 for the E.S. Bankest, LLC for the year 2000 and 1999,
21 Exhibit Number 452 that we were just looking at. The 21 Q. Is that the BDO logo down there in the
22 bottom box was taken from the certified financial 22 corner?
23 statements by BDO Seidman which came out on April 16th, § 23 A. Yes, sir.
24 2003. 24 Q. Now, Mr. Freeman, if you could please turn
Is that your understanding of what's before with me to the third page.

 

 

 
 
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 8 of 42

Page 380

21 (Pages 380 to 383)

Page 382

 

 

 

in their work paper. I asked him if he relied upon this

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Si BME aR SA? RIERA LENT I EA SAA ABMS EIR a SIE TDI LENE LISS Bia: se Re RSE Ee RARITIES

1 A. (Complies). 1  asareceiver. Yes. What's that number?

2 Q. And Mr. Freeman, is this BDO's audit 2 THE COURT: I don't think that was the

3 opinions stating that the numbers contained in their 3 question. Is he going to make up (inaud.)?

4 audited financials present fairly the finance position 4 MR. THOMAS: He's going to highlight the

5 of E.S. Bankest at this time? 5 numbers that are up there for StrataSys.

6 A. Yes. This is -- as it says up on top the 6 THE COURT: Which numbers -- you ask him one

7 independent auditor's report. And this is the opinion, 7 question about a number.

8 yes, sir. 8 MR. THOMAS: Well, there's actually two

9 Q. Now, Mr. Freeman, if you would please turn 9 numbers from StrataSys up there, 78 and the 3.1.

10 ~_—- with me to the related party transaction which is page 10 THE COURT: Why don't you rephrase the
11 13 0f BDO's audit. 11 question?
12 A. (Complies). 12 MR. THOMAS: I will. I'm not doing anything
13 Q. And if we could highlight the part about 13 new. It's like last time.
14 = StrataSys. 14 THE COURT: I understand but the question
| 15 (Technician complies.) 15 is--
16 BY MR. THOMAS: 16 MR. THOMAS: I understand.
17 Q. Mr. Freeman, do you understand that this 17 (Thereupon, the side-bar conference was
18 note audited by BDO states that there are 3.2 million in 18 concluded.)
19 accounts receivable from their alliance partner 19 BY MR. THOMAS:

#20 StrataSys? 20 Q. Mr. Freeman, what do BDO's own work papers
21 A. Yes. 21 show as the StrataSys accounts receivable in the two
22 Q. Nov, if you would please look with me 286-A. 22 numbers up there related to StrataSys?

23 A. Okay. 23 MR. SCHNAPP: Objection under Rule 701 and
24 Q. You understand this to be BDO's own internal 24 702.
25 work paper about the accounts receivable? 25 THE COURT: Overruled.
Page 381 Page 383

1 A. Yes. 1 THE WITNESS: Up on the very top under

2 Q. Can we put this up, please? 2 0022140AR -- accounts receivable -- purchased StrataSys,

3 (Technician complies.) 3 7 million 802 thousand. Then down below is 0022230,

4 And what does BDO say in their own internal 4 again accounts receivable —- AR -- purchased StrataSys 3

i work paper is the amount of accounts receivable from 5 million 187. You add the two of those together, it's

6 their alliance partner StrataSys? 6 about 12 million dollars -- 11 million, I'm sorry. 11

7 MR. SCHNAPP: Objection, Your Honor. Rule 7 million dollars.

8 701. It's improper testimony. 8 BY MR. THOMAS:

9 Your Honor, may I be heard on this? 9 Q. And Mr. Freeman, what did E.S. Bankest's
10 THE COURT: You want a side-bar? 10 ~—_ audited financial statements by BDO Seidman say were the
11 MR. SCHNAPP: Yes, please. 11 amount of accounts receivable from StrataSys?

12 THE COURT: Okay. 12 A. Approximately 3.2 million. It doesn't say
13 (Thereupon, there was a side-bar conference 13 approximately. It has purchased 3.2 million.

14 outside the presence and hearing of the jury.) 14 MR. THOMAS: May I approach Mr. Freeman,
15 MR. SCHNAPP: Mr. Freeman is now testifying 15 with His Honor’s permission?

16  asanexpert. He's being asked to interpret BDO's work 16 THE COURT: You may

17 papers. His testimony is testimony that only an expert 17. +BY MR. THOMAS:

18 could give, if it was even admissible through an expert. 18 Q. I'm going to approach you and show you BDO's
19 But for Mr. Freeman to testify as to what BDO did in its 19 financial statements, Plaintiffs’ Exhibit 81 for the
20 analysis of its work papers is improper expert testimony 20 next year 2001 and BDO's work paper in evidence.
21 under rules 701 and 702. 21 THE COURT: Ladies and gentlemen, you're
22 MR. THOMAS: Your Honor, same thing I did 22 free to stand and stretch as you wish. If you want to
23 last time. All he's going to show is highlight the 23 get up and stretch.

24 ~— StrataSys stuff just like he did last time. The amounts 24 MR. THOMAS: And coffee.

25 25 BY MR. THOMAS:

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 9 of 42

Page 384

22

Page 386

(Pages 384 to 387)

 
   
   
  
   
  
   
  
  
  
  
  
  
  
  
  
  
 

 

 

A. Yes, I did.
Q. Would you please sett the 1998 E.S. Bankest

 

1 Q. Now, Mr. Freeman, Plaintiffs’ Exhibit 81, 1 audited financials? And if you would, turn to the
2 what is that? 2 _ section of the balance sheet with me.
3 A. This is E.S. Bankest, LLC's financial 3 A. (Complies).
4 statements for the year December 31, 2001 and 2000. 4 Okay.
5 Q. This is for the next year? 5 Q. And Mr. Freeman, in 1998 what did it show
6 A. Yes. 6 the accounts receivable were?
7 Q. And if you turn to page 13, this time how 7 A. Over 40 million dollars.
8 much does BDO Seidman say are the accounts receivable 8 Q. And did you understand that those accounts
9 from their alliance partner, StrataSys? 9 receivable for 40 million was audited by BDO Seidman?
10 A. 48 million dollars. 10 A. Yes.
11 Q. I'msorry, you must have picked up the wrong 11 Q. And did you understand that BDO Seidman's
12 one. 2000, 2001? | 12 audit stated that this number, 40 million dollars in
13 A. 2001, 2000? Okay. I'm sorry. 3.2. 13 accounts receivable, was real or fake? What did BDO
14 Q. 3.2 million again? 14 say?
15 A. Yes, sir. 15 MR. SCHNAPP: Objection under 701, 702, and
16 Q. And if you could turn to BDO's work paper. 16 ©=©6604.
17 I'msorry, Plaintiffs’ Exhibit 286-A. 17 THE COURT: Overmuled.
18 A. (Complies). 18 THE WITNESS: Could you repeat the question?
19 Q. And do you see their numbers for StrataSys? 19 BY MR. THOMAS:
20 A. Yes, Ido. 20 Q. Yes. BDO's audited financials of 1998 said
21 Q. And what does BDO's internal work papers say 21 there was how much in accounts receivable -- real
22 for 2001 are the numbers for StrataSys accounts 22 accounts receivable at E.S. Bankest?
23 receivable? 23 MR. SCHNAPP: Objection, Your Honor.
24 A. 0022140 right at the top, 16 million 497 24 That's --
25 thousand. And down below, at 0022230, 5 million 5. So 25 THE COURT: Is this a question?
Page 385 Page 387
1 it would be roughly, 21 million 500 thousand. 1 MR. SCHNAPP: Well, there's no question as
2 Q. And when BDO's own internal work papers in 2 well. It's argumentative and I move to strike that
3 2001 show that their alliance partner's accounts 3 statement.
4 receivable were 21.5 million, what did their audited 4 THE COURT: Sustained. Don't answer. It's
5 financials of E.S. Bankest say their accounts receivable 5 not a question.
6 were from their alliance partner? 6 BY MR. THOMAS:
7 A. 3.2. 7 Q. Mr. Freeman, how much in real accounts
8 Q. Mr. Freeman, we looked at several of the 8 receivable did BDO Seidman say E.S. Bankest had in 1998
9 audited financials of E.S. Bankest now and may I 9 in the audited financials?
10 approach, Your Honor? 10 ’ MR. SCHNAPP: Objection, Your Honor. 701
11 THE COURT: You may. 11 and 702. He's not qualified as an expert.
12 THE WITNESS: They're all right here. 12 THE COURT: Overruled.
13 BY MR. THOMAS: 13 THE WITNESS: It says 40 million 600
14 Q. We've looked at 2002, 2001, and 2000. I'm 14 thousand roughly.
15 going to show you the rest of them. Plaintiffs’ Exhibit 15 BY MR. THOMAS:
16 Number 74 is BDO's financial statements for 1998 and 16 Q. And were the majority of those accounts
17  Plaintiffs' Exhibit Number 75 is for 1999. 17 receivable real or fake?
18 A. Okay. 18 MR. SCHNAPP: Objection, no foundation.
19 Q. Mr. Freeman, as part of your duties as the 19 604. Lack of personal knowledge.
20  Court-appointed receiver of E.S. Bankest, did you need 20 THE COURT: Would you rephrase the question?
21 to determine whether or not the accounts receivable 21 BY MR. THOMAS:
22 reflected in BDO's audited financial statements were 22 Q. Mr. Freeman, based on your investigation as
23 real or fake? 23 the Court-appointed receiver of E.S. Bankest, were these
24 accounts receivable mostly real or fake?

MR. SCHNAPP: meection. Same objections,

   
   
  
    
    
   
  
   
   
 

   
 

   
 

Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 10 of 42

23 (Pages 388 to 391)

 

 

 

Page 388 Page 3908
1 604. 1 Q. And of the 153 million dollars approximately
2 THE COURT: Overruled. 2 reflected in BDO's audited financial statements, were
3 THE WITNESS: My investigation showed that 3 those mostly real or fake?
4 most of these receivables were fake. 4 _ MR. SCHNAPP: Same objection under 604.
5 BY MR. THOMAS: 5 Hearsay.
6 Q. Let's look at the next year 1999 if you 6 THE COURT: Sustained.
7 ~~ will. And if you would just please turn to the 7 BY MR. THOMAS:
8 financial statements? 8 Q. As the Court-appointed receiver of E.S.
9 A. (Complies). 9 Bankest and based on your investigation, was 153 million
10 Q. Now, how much in accounts receivable in 1999 10 dollars in accounts receivable as certified by BDO
11 arerreflected in BDO's audit? 11 Seidman mostly real or fake?
12 A. 58 million 7 hundred thousand roughly. 12 MR. SCHNAPP: Objection. Lack of
13 Q. And based on your investigation, 13 foundation, argumentative, and leading.
14 Mr. Freeman, were most of these accounts receivable real 14 THE COURT: Overruled.
15 or fake? 15 THE WITNESS: Most of them were fake, the
16 MR. SCHNAPP: Same objection. Lack of 16 153 million dollars.
17 ~~ foundation. 604. 17. BY MR. THOMAS:
18 THE COURT: Overruled. 18 Q. Now let's go to 2002. Can we go to the
19 THE WITNESS: They were mostly fake. 19 numbers page?
20 BY MR. THOMAS: 20 Now, how much had the accounts receivable
21 Q. Let's look at the next year, 2000. 21 grown in the BDO audited financials from 2001 to 2002?
22 A. (Complies). 22 A. By 70 million dollars. From 153 million to
23 Q. Now, how much in accounts receivable did 23 roughly 223 million.
24 BDO's audit certify? 24 Q. And Mr. Freeman, of the 223.8 million
25 A. 2 thousand 103 -- 103 million. 25 dollars in accounts receivable found in 2002 for BDO's
Page 389 Page 391
1 Q. Mr. Freeman, were these -- based on your 1 audited finances, were those mostly real or fake?
2 investigation were these accounts receivable real or 2 MR. SCHNAPP: Objection, argumentative.
3 fake? 3 604. Hearsay.
4 A. Fake. 4 THE COURT: Sustained.
5 MR. SCHNAPP: I'm sorry, I didn't get a 5 BY MR. THOMAS:
6 chance to object. Under Rule 604 and hearsay. 6 Q. Mr. Freeman, based on your duties, carrying
7 THE COURT: Overruled. 7 out your duties as the Court-appointed receiver of E.S,
8 THE WITNESS: I'm sorry. Fake. 8 Bankest, did you determine whether the 223.8 million
9 BY MR. THOMAS: 9 dollars certified by BDO Seidman were real or fake?
10 Q. Now, from 1999 to 2000, accounts receivable 10 MR. SCHNAPP: Objection 401, 403. No
11 that were fake had grown almost a little over 40 million 11 foundation.
12 ~~ dollars. Is that right? 12 THE COURT: Overruled.
13 MR. SCHNAPP: Objection, argumentative. 13 THE WITNESS: Yes, I made a determination
14 THE COURT: Sustained. 14 that most of them were fake.
15 BY MR. THOMAS: 15 BY MR. THOMAS:
16 Q. Mr. Freeman, how much had the fake accounts 16 Q. In fact, Mr. Freeman, as the Court-appointed
17 receivables grown between 1999 and 2000 as reflected on {17 receiver of E.S. Bankest, how much of the 223.8 million
18 the financial statements audited by BDO Seidman? 18 approximately did you determine were real collectible
19 A. They almost doubled from 58 to 103 million. 19 receivables? :
20 Roughly 45 million dollars. 20 MR. SCHNAPP: Same objection, Your Honor. e
21 Q. Let's go to the next year. For 2001 -- if 21 403, 604 and hearsay.
22  wecould go to the numbers page. 22 THE COURT: Overruled.
23 In 2001, how much had the accounts 23 THE WITNESS: Roughly 5 million dollars or,
24 receivable grown as audited by BDO Seidman? 24 ~~ you know, a little over 2 percent. :
25 25 BY MR. THOMAS: ;

A. 50 million dollars.

 
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 11 of 42

Page 392

24 (Pages 392 to 395)

   
  
    
  
  
  
   
  
 
 
 
  

Page 394 ff

 

    

1 Q. So Mr. Freeman, out of the approximately 1 A. Somewhere over one hundred million dollars.

2 223.8 million dollars in accounts receivable, does that 2 Between 100 and 120 million dollars of the 123.

3 mean about 218 million of them were fake? 3 Q. And when you picked up the phone and you

4 MR. SCHNAPP: Objection, leading. 4 called Joy, one of the biggest clients, what did you

5  Argumentative. 5 say?

6 THE COURT: Sustained. 6 A. I said hi.

7 BY MR. THOMAS: 7 MR. SCHNAPP: Objection, Your Honor,

8 Q. As the Court-appointed receiver and based on 8 hearsay.

9 your investigation, Mr. Freeman, what was the amount of 9 THE COURT: Overruled.
10 the 223.8 million dollars in accounts receivable 10 THE WITNESS: I am the receiver appointed by
11 certified by Mr. Lenner and BDO Seidman that were fake? 11 the federal court. We have very large receivables that
12 MR. SCHNAPP: Objection. No foundation, 12 we bought from you and I'd like to meet with you as
13 hearsay, and 604. 13 quickly as possible.
14 THE COURT: Overruled. 14 BY MR. THOMAS:
15 THE WITNESS: About 218 million which is 5 15 Q. And who from Joy did you call?
16 million dollars that we collected from the 223, 224. 16 A. I called the president, Mr. Barnhill.
17 Those were the fake ones. 17 Jeffrey Barnhill.
18 BY MR. THOMAS: 18 Q. And did Mr. Barnhill agree to meet with you?
19 Q. Mr. Freeman, let's go back. You told us 19 A. Yeah, he was very interested in meeting with
20 that on the afternoon you had driven out to StrataSys. 20 me
21 Do you recall that testimony? 21 MR. SCHNAPP: Objection, calls for
22 A. Yeah. 22 — speculation.
23 Q. What did you do in the morning? So we're 23 THE COURT: Overruled.
24 back in August of 2003, the day after you were appointed 24 BY MR. THOMAS:
25 asthe receiver. You were appointed as the examiner and 25 Q. And did you arrange to have a meeting with

Page 393 Page 395
| 1 a few days later you became the receiver. Do you 1 Mr. Barnhill the next day?

2 remember that testimony? 2 A. Yes, I did.

3 A. Yeah, I became the receiver on Wednesday. 3 Q. And is that what you did in the morning

4 Q. And I believe you testified before that on 4 before you drove out to StrataSys in the afternoon?

5 Thursday you had driven out to StrataSys. Do you recall 5 A. It was one of the many things, yes, sir.

6 _ that testimony? 6 Q. And what happened when you met with

7 A. In the afternoon. 7 Mr. Barnhill, the president of Joy, the largest client

8 Q. Inthe afternoon. What did you do in the 8 of E.S. Bankest on Thursday morning?

9 morning? 9 A. Well, we were -- he was with his counsel. I
10 A. [had a meeting with one of the other 10 also had my lawyer with me. And Mr. Barnhill was very
11 companies, Joy Manufacturing, and their principals and [11 concerned that I fund --
12 their counsel. 12 MR. SCHNAPP: Objection, hearsay.
13 Q. Was Joy Manufacturing the largest client of 13 THE COURT: Overruled.
14 ES. Bankest? 14 THE WITNESS: My investigation had led me to A
15 A. Yes. 15 the meeting and met with Mr. Barnhill. He was very
16 Q. And how did it come to be that you had a 16 concemed about meeting payroll that week. And he had i
17 meeting with them on Thursday morning? 17 large overdrafts in his bank. And he wanted me to fund i
18 A. On Wednesday I picked up the phone and 18 or prefund. H
19 called them. They were here in Miami. And thought I 19 MR. SCHNAPP: I'm sorry, Your Honor. :
20 should meet with them. They were about 50 percent or 20 Objection. Not responsive and hearsay. :
21 more of the accounts receivable that I owned. 21 MR. THOMAS: I can stop and ask him a :
22 Q. According to what you learned that first few 22 question. ;
23 days when you showed up, approximately how much in 23 THE COURT: Ask him a question. ‘
24 accounts receivable was E.S. Bankest supposed to have 24 BY MR. THOMAS: :
25 purchased from Joy? Q. Mr. Freeman, based on that meeting, did you H

 

   
    
   
  
  
   
  
  
  
  
   
   
     
 

      

 

 
 

Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 12 of 42

36 (Pages 440 to 443)

 

 

 

 

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Page 440 Page 442 §
1 it up yet. 1 partners, Capital and Espirito Santo.
2 (Technician complies.) 2 You want this back.
3 MR. SCHNAPP: I don't object to this being 3 MR. THOMAS: May I approach, Your Honor?
4 — used solely for purposes of the demonstrative aid at 4 THE COURT: You may.
5 this point. 5 MR. THOMAS: (Complies.)
6 THE COURT: Is that all you're using it for? 6 BY MR. THOMAS:
7 MR. THOMAS: That's all I'm going to use it 7 Q. Now, Mr. Freeman, in using the money that
8 for. 8 came in from Espirito Santo and its customers, did
9 Put this up. 9 Bankest Capital and the Orlanskys buy interest in
10 (Technician complies.) 10 client's like Joy?
11 BY MR. THOMAS: 11 A. Yes.
12 Q. Mr. Freeman, you've talked about how 12 Q. And what does that mean, that they got an
13 factoring works already once. But just to help with 13 interest in client's like Joy?
14 ‘this demonstrative aid, Joy, largest client of Capital 14 A. Well, instead of them being -- buying the
15 and E.S. Bankest; is that right? 15 accounts receivable, they ended up buying into the
16 A. Correct. 16 companies. They were supposed to be buying -- just like
17 Q. And Joy, would they be called a client? 17 with Joy. If Joy sold $100,000 to Wal-Mart, Joy would
18 A. Yes. 18 have been getting $80,000 to purchase the receivables
19 _ Q. And Wal-Mart would be cailed a customer? 19 and to assign it. Instead, Capital was getting --
20 A. Correct. 20 putting money into Joy to fund their losses and building
21 Q. And for the largest client, the accounts 21 of the business, not to just buy real receivables.
22 receivable and the funding didn't flow directly toE.S. § 22 Q. And, Mr. Freeman, based on your
23  Bankest; is that right? 23 investigation as the court-appointed receiver, to carry
24 A. Correct. 24 out this fraud, did the gentlemen who were indicted
25 Q. It went through Capital? 25 create fake checks from the customer Wal-Mart for the
Page 441 Page 443
1 A. Yes, that's correct. 1 fake accounts receivable?
2 Q. And was Capital wholly owned by the 2 A. No.
3 Orlanskys and Parlapiano? 3 MR. SCHNAPP: Objection.
4 A. Yes. 4 THE COURT: Overruled.
5 Q. So using this demonstrative aid -- and 5 THE WITNESS: No.
6 you're welcome to this pointer, if you like it -- if you 6 BY MR. THOMAS:
7 would like to, can you explain how the money would flow 7 Q. Did they create fake checks from Capital
8  inand out. 8 owned by the Orlanskys?
9 A. Okay. Sure. Always love the pointers. I 9 A. Yes. To Bankest. Yes.
10 guess we should start with what we did before, that Joy 10 Q. And did they sometimes create fake checks
11 would sell T shirts to Wal-Mart. As I said in the 11 ‘from the client Joy?
12 earlier example, maybe $100,000. They sell them today 12 A. Yes.
13 and get paid a promise to pay the IOU. We'd get paid -- 13 Q. And in this aid, who was the person or the
14 we'll say we'll pay Joy 90 days from today. Joy needed 14 entity that actually owes the money?
15 the money earlier so they went to Capital and got 15 A. Bankest actually owed the money.
16 $80,000 today. And instead of the promise by Wal-Mart 16 Q. And which -- in the factoring, who is the
17  topay Joy, Joy assigned it to Capital. Capital got 17 account debtor, the one that actually owes the accounts
18 their money from E.S. Bankest. Bankest borrowed it from § 18 receivable?
19 Espirito Santo's bank or bought these notes. 19 A. Wal-Mart.
20 So what would happen is after 90 days, 20 Q. And Wal-Mart, is that the customer?
21 Wal-Mart, instead of paying Joy, would pay Bankest 21 A. Yes.
22 Capital. Bankest Capital was then supposed to pay E.S. 22 Q. And based on your investigation as the
23 Bankest, and Bankest was supposed to pay Espirito Santo. 23 court-appointed receiver of E.S. Bankest, did the
24 The audit that was done was on the financial statements 24 persons committing the fraud create fake documents from
25 of ES. Bankest, not of their parent company or their 25 customers, the ones that actually owed the money?

 
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 13 of 42

37 (Pages 444 to 447)

 

Page 444

    
     
     
     
   
  
    
   

Page 446

 

 

THE WITNESS: Yes, he did object and did not

 

 

1 “A. No. 1 _ send it back to the accounting firm.
2 MR. SCHNAPP: Objection. No foundation. 2 BY MR. THOMAS:
3 THE COURT: Overruled. 3 Q. And, Mr. Freeman, was that year in 1999?
4 MR. SCHNAPP: I'm sorry, Your Honor. 604 4 A. I think it might have been 2000.
5  and701. 5 Q. 2000, 1999?
6 THE COURT: Overruled. 6 A. Yeah.
7 THE WITNESS: No, they didn't. 7 Q. And what did your investigation show for
8 BY MR. THOMAS: 8  BDO's audit for that year when the largest client
9 Q. Mr. Freeman, including in the fact that as 9 refused to send back a confirmation? Did BDO Seidman
10 part of the fraud, the persons committing this fraud did 10 issue clean, certified financials for E.S. Bankest?
11 not create fake documents from the customers who 11 MR. SCHNAPP: Objection. No foundation,
12 actually owed the money, did they create fake 12 lack of predicate, hearsay.
13 confirmations from customers saying the money was owed? §.13 THE COURT: Overruled.
14 A. Yes. 14 THE WITNESS: Yes, they did. All the way
15 MR. THOMAS: I'm sorry, Your Honor. I asked 15 through they issued independent, clean, financial
16  abad question. Let me ask it again. 16 statements.
17 BY MR. THOMAS: 17 MR. THOMAS: If we can go back to the
18 Q. Joy is the client? 18 indictment.
19 A. Okay. 19 (Technician complies.)
20 Q. And Bankest and Capital sent out 20 MR. THOMAS: And if we could go to
21 confirmations for BDO to the client Joy; is that right? 21 paragraph 10 on page 11, please.
22 A. Yes. 22 (Technician complies.)
23 Q. And in the first year that this was done, 23. BY MR. THOMAS:
24 ~— did Joy sign it and send it back? 24 Q. And this says, "On or about May 29th, 1997,
25 A. Yes, they did. 25 Jeffrey Barnhill executed a letter to BDO Seidman
Page 445 Page 447 ;
1 Q. And in the second year that this was done, 1 _—s purporting to confirm that Joy had sold and transferred
2 did Joy sign a confirmation for BDO Seidman saying that 2 accounts receivable totaling 10.6 million."
3. Joy, at least the client, the accounts receivable were 3 Did your investigation confirm that that was
4 real? 4 accurate?
5 A. Yes. 5 A. Yes.
6 Q. And in the third year, did BDO send a 6 Q. Sorry. Give me just one moment. Here we
7 statement for a confirmation to Joy that the accounts 7 ~~ are.
8 receivable were real? 8 MR. THOMAS: Can we go to paragraph 34,
9 A. Yes, they sent them. 9 please.
10 Q. And in that third year, based on your 10 (Technician complies.)
11 investigation, did Mr. Barnhill receive this request of 11 BY MR. THOMAS:
12 confirmation from BDO to Joy? 12 Q. Paragraph 34 says, "On or about
13 MR. SCHNAPP: Your Honor, I'm sorry. Can 13 February 17th, 1999, Eduardo Orlansky and Dominick
14  [--I object on the grounds of hearsay and Rule 701, 14  Parlapiano asked Jeffrey Barnhill to sign an audit
15 702, 403. 15 inquiry confirmation letter to BDO Seidman reflecting
16 THE COURT: Overruled. 16 the value of accounts receivable sold to BCC by Joy as
17 THE WITNESS: Yes, my investigation found 17 23.9 million."
18 that Mr. Barnhill did receive a confirmation. 18 Did your investigation confirm that that was
19 BY MR. THOMAS: 19 true?
20 Q. And as the largest client of E.S. Bankest 20 MR. SCHNAPP: Objection. Hearsay.
21 having twice returned confirmations, in this third year, 21 THE COURT: Overruled.
22 ~ did Mr. Barnhill refuse to send it back? 22 THE WITNESS: Yes.
23 MR. SCHNAPP: Objection. Hearsay. 23 BY MR. THOMAS:
24 THE COURT: Overruled. 24 Q. And, in fact, Mr. Freeman, did your

    

    
    
  
  
  
  
   
   
   
  
   
   
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 14 of 42

 

 

 

Page 673

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP,
Defendant.

BDO SEIDMAN, LLP,

Third-Party Plaintiff,

vs.

VICTOR BALESTRA, BERNARD MOLLET, JOAQUIN GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPIANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANI,

Third-Party Defendants.

PAGES 673 - 838

Volume 7

Miami, Florida
Friday, April 13, 2007
9:50 a.m.

Before the Honorable Jose M. Rodriguez

   

Reported by: Gizella "Gigi" Baan

 

 

Baan PERSIE Re OL Li ERA EER oN a ee Ee at a de ee Sie AEDS
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 15 of 42

2 (Pages 674 to 677)

 

 

Page 674 Page 676
1 APPEARANCES 1 On behalf of Third-Party Defendants Victor Balestra,
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Page 675 Page 677
1 On behalf of Defendant BDO Seidman, LLP: 1 CONTENTS
2 2 3
3. ALVAREZ, ARMAS & BORRON 3 EXAMINATION OF LEWIS B. FREEMAN BY: PAGE: E
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17 1221 Brickell Avenue 17 ;
18 Miami, Florida 33131 18 :
19 BY: Mark Schnapp, Esquire 19 :
20 Nikki Simon, Esquire 20 ;
21 21 :
22 22 A
23 23 :
24 24 ;
25 i

 

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_ Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 16 of 42

8 (Pages 698 to 701)

 

 

Page 698

  
   
  
  
  
  
  
  
  
   
   
   
   
  

Page 7008

 

 

sual:

 

    

1 THE COURT: Sustained. 1 in the year 2001 also were majority -- vast majority --

2 BY MR. THOMAS: 2 fraudulent.

3 Q. Mr. Freeman, if you look at the next 3 Q. So would that be about 219 million in 2002

4 sentence it says "With that goal in mind, BDO has 4 and at least over a hundred million in fake in 2001?

5 renewed our pledge to maintain the integrity of our 5 MR. SCHNAPP: Objection. Leading witness.

6 audit process. Our professionals are highly sensitized 6 Let me look at the financials.

7 to the need to maintain objectivity and independence." 7 THE COURT: Sustained. Sustained.

8 And then they go on to say at the bottom there that 8 MR. THOMAS: Put up the 2001 audit for me.

9 "Each audit also has a suitable level of independent 9 (Technician complies.)
10 technical oversight." 10 MR. THOMAS: Can we go to the balance sheet,
11 Did I read that correctly, Mr. Freeman? 11 __piease.
12 A. Yes. 12 (Technician complies.)
13 Q._ And, Mr. Freeman, in carrying out your 13. BY MR. THOMAS:
14 duties as the court-appointed receiver, did you rely 14 Q. So, Mr. Freeman, in 2001, were at least over
15 upon what BDO represented in this web site? 15 a hundred million dollars of those fake?
16 MR. SCHNAPP: Objection. 401, 403, and 701. 16 A. Easily.
17 THE COURT: Overruled. 17 Q. And what about in 2000? It's represented
18 THE WITNESS: Yes. 18 _ there before, at least over 50 million of those be fake?
19 BY MR. THOMAS: 19 MR. SCHNAPP: Your Honor, objection. This
20 Q. Based on your experience and over 30 20 is asked and answered and just repetitive.
21 receiverships, was the fraud at E.S. Bankest a little 21 THE COURT: Overruled.
22 ~~ one? 22 THE WITNESS: Probably closer to a hundred
23 A. No, sir. 23 = million. 98 million.
24 Q. Was it a big fraud? 24 BY MR. THOMAS:
25 A. It was a great big fraud. 25 Q. Mr. Freeman, so is one of the reasons this

Page 699 Page 701

1 Q. Mr. Freeman, was this a great big fraud 1 isa great big fraud because if you total up the fake

2 because when you arrived, of the 224-odd million in 2 ones to now, we're over 400 million in fake accounts

3 aecounts receivable, 219 were fake? 3 receivable?

4 A. Yes, sir. 4 MR. SCHNAPP: Objection. Argumentative,

5 Q. Was it a great big fraud because, in fact, 5 403.

6 the year before, I think we looked at out of 150 million 6 THE COURT: Sustained.

7 in accounts receivable, almost all of those were fake? 7 BY MR. THOMAS:

8 MR. SCHNAPP: Objection. Argumentative. 8 Q. Is the amount of money that was fake here,

9 THE COURT: Sustained. 9 _ is that one of the reasons this is a great big fraud?
10 BY MR. THOMAS: 10 MR. SCHNAPP: Objection, Your Honor.
11 Q. Was one of the reasons this was a great big 11  Argumentative. ;
12 ~~ fraud, Mr. Freeman, have to do with that the year 12 MR. THOMAS: Your Honor, there's no way I
13 before, accounts receivable and the millions of dollars 13. canask it - s
14 were fake? 14 THE COURT: I get to rule. You get to ask.
15 MR. SCHNAPP: Objection. Same question and 15 MR. THOMAS: I was just answering, Your :
16 — same objection. 16 Honor.
17 THE COURT: Sustained. It's also leading. 17 THE COURT: Sustained. It's leading as
18 MR. THOMAS: I'm sorry. I don’t want to 18 well. :
19 lead Mr. Freeman. 19 BY MR. THOMAS: Ul
20 BY MR. THOMAS: 20 Q. Mr. Freeman, for the years 2000, 2001, and :
21 Q. Mr. Freeman, is there anything that happened {21 2002, what's one of the reasons this was a great big ‘
22 in the year before that made this a big great fraud? 22 = fraud? e
23 A. Yes. 23 A. The amount of money that was involved and —
24 Q. What was that? 24 the amount of -- the majority is -- 99 percent or
25 A. The vast majority of the accounts receivable 25 98 percent of the money was fraudulent.

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 17 of 42

Page 702

9 (Pages 702 to 705)

   
   
   
   
 
  
  
  
  
  
  
  
  
  

Page 7048

 

1  — Q__ And for 2000, and 2001, and 2002, if you add 1 A. Yes.
2 up the fraudulent receivables, how much would that be, 2 Q. Was CD Jewel Box a real company?
3 approximately? 3 A. No.
4 A. 400 -- the fraudulent? $470 million, 4 Q. Was CD Jewel Box actually a mailbox at a
5 roughly. 5 Mailboxes R Us?
6 Q. So is one of the reasons, Mr. Freeman, you 6 MR. SCHNAPP: Objection. Leading.
7 ~~ characterize this as a great big fraud is the amount of 7 THE WITNESS: Yes.
8 fake receivable in excess of 400 million? 8 THE COURT: Sustained.
9 A. Yes. 9 THE WITNESS: Sorry.
10 Q. Mr. Freeman, is one of the reasons you 10 BY MR. THOMAS:
11 characterize this as a great big fraud because it 11 Q. What was CD Jewel Box?
12 happened on one day? 12 MR. SCHNAPP: Objection. 701 and 604.
13 MR. SCHNAPP: Objection. Leading. 13 THE COURT: Overruled.
14 THE COURT: Sustained. 14 THE WITNESS: My investigation showed that
15 BY MR. THOMAS: 15 CD Jewel Box was just a mail drop. Had no business
16 Q. Mr. Freeman, is this a great big fraud 16 function.
17 because it happened on a single day? 17 BY MR. THOMAS:
18 MR. SCHNAPP: Objection. Leading. 18 Q. Mr. Freeman, is one of the reasons you
19 THE COURT: Overruled. 19 characterized this as a great big fraud because it
20 THE WITNESS: No. 20 involved companies like StrataSys?
21 BY MR. THOMAS: 21 A. Yes, sir.
22 Q. Mr. Freeman, is this a great big fraud 22 Q. Mr. Freeman, was StrataSys a strategic
23 because it happened over a month? 23 _ business partner of BDO Seidman?
24 A. No, sir. 24 MR. SCHNAPP: Objection. Misstates the
25 Q. Over a year? 25 evidence and --
Page 703 Page 705E
1 A. Multiple years. 1 THE COURT: Sustained. Rephrase the
2 Q. Mr. Freeman, is one of the reasons you 2 question.
3 _ characterize this as a great big fraud because it 3 BY MR. THOMAS:
4 happened over seven years? 4 Q. Mr. Freeman, what was StrataSys's
5 A. Yes, sir. 5 relationship with BDO Seidman?
6 Q. Mr. Freeman, is one of the reasons you 6 A. My investigation showed that StrataSys was
7 characterize this as a great big fraud because it 7 the strategic alliance partner with BDO Seidman.
8 involved more than one company? 8 Q. And, Mr. Freeman, was Mr. Lenner, who was
9 A. Yes, sir. 9 the partner in charge of the audit of E.S. Bankest, also
10 Q. And was one of those companies -- did it 10 ‘the partner in charge of BDO's strategic alliance
11 involve, Mr. Freeman, a company called CD Jewel Box? 11 partnership with StrataSys?
12 A. Yes, sir. 12 MR. SCHNAPP: Objection. 604.
13 Q. And was CD Jewel Box a client of E.S. 13 THE COURT: Overruled.
14 Bankest? 14 THE WITNESS: Yes, Mr. Lenner was.
15 A. Yes. 15 BY MR. THOMAS:
16 Q. And was CD Jewel Box controlled by Dominick 16 Q. And was one of the reasons you characterized
17  Parlapiano? 17 this as a great big fraud because at least in the last
18 A. Yes. 18 year, $45 million in fake accounts receivable were
19 Q. And was CD Jewel Box supposed to be doing 19 purchased by E.S. Bankest from StrataSys?
20 thousands of transactions in CD cases? 20 A. In that range, yes, sir.
21 A. Yes, it was. 21 Q. And, Mr. Freeman, what did your
22 Q. And did BDO Seidman, based on your 22 investigation show as to how many of those fake accounts
23 investigation as the court-appointed receiver, verify 23 receivable from BDO's strategic alliance partner,
24 millions and millions of dollars in accounts receivable 24  StrataSys, did BDO identify as fake?
25 from CD Jewel Box? 25 A. None.

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 18 of 42

40 (Pages 826 to 829)

 

  
  
  
  
  
  
  
  
  
 
  
 
  
 
  
  
 
   

 

 

 

  
 

 

 

Page 826 Page 828 —
1 report, let's see, in 2005 about two years after you had 1 about when they will begin to serve their time?
2 been appointed? 2 A. Federal Judge in the federal court who has
3 A. Yes, sir. 3 the case.
4 Q. Itsays you have conducted an extensive 4 Q. Mr. Freeman, which federal Judge appointed
5 examination and investigation into the business and 5 you?
6 financial affairs of the debtor. 6 A. Judge Huck.
7 Is the debtor E.S. Bankest? 7 Q. And this is a different federal Judge?
8 A. Yes, it is. 8 A. Yes. Judge Jordan.
| 9 Q. Have reviewed thousands of documents, have 9 Q. And it's Judge Jordan that's going to decide
10 traced approximately $2 billion through the bank 10 when these individuals will start serving their
11 accounts of the debtor and its affiliates, have 11. sentences?
12 interviewed dozens of persons, have worked closely with § 12 A. That's my belief, yes, sir.
13 and cooperated with the U.S. Attorney's office and the 13 Q. Do you have any understanding that Judge
14 ‘FBI, and have investigated the affairs of the portfolio 14 Jordan, the federal Judge has done anything wrong in not
15 companies. 15 sending these people to actually start serving their
16 Did I read that right? 16 sentences in jail yet?
17 A. Yes, sir. 17 A. Ican say that the Judge is always right
18 Q. Mr. Freeman, the portfolio companies, is 18 (laughter.)
19 that -- in this document is that like the clients, Joy? 19 Q. So you don't know of anything that says that
20 A. Joy, ENA, StrataSys. 20 Judge Jordan is corrupt in any way for not sentencing
21 Q. Mr. Freeman, as part of interviewing the 21 these people?
22 dozens of persons that you interviewed, did that include § 22 MR. SCHNAPP: That's offensive.
23 Mr. Carlos Mendez? 23 THE COURT: Sustained.
24 A. Yes. 24 Rephrase your question.
25 Q. And Mr. Freeman, Carlos Mendez, he's one of 25 MR. THOMAS: I'll use a different adjective.
Page 827 Page 829
1 the guys who pled guilty to this fraud? 1 BY MR. THOMAS:
2 A. Yes, sir. 2 Q. Mr. Freeman, are you aware that Judge Jordan
3 Q. And he hasn't spent time in jail yet? 3 has done anything improper by at this point not yet
4 A. I don't believe so. 4 sentencing these people to go ahead and start serving
5 Q. Mr. Freeman, other than the people who 5 time in jail?
6 didn't plead guilty, the ones who were convicted 6 MR. SCHNAPP: Objection. There's no --
7 actually went to trial. Of all the others who pled 7 there's not even the remote suggestion that that’s even
8 guilty, have any of them spent time in jail yet? 8 anissue. That's improper.
9 A. Could you repeat it? 9 THE COURT: That's enough. Calls fora
10 Q. Right. Of all the people who cooperated 10 legal conclusion. Sustained.
11 with the U.S. Attorney's office and the FBI, had any of 11 BY MR. THOMAS:
12 them spent time in jail yet? 12 Q. Well, Mr. Freeman, didn't BDO ask you
13 A. Yes. 13 _ repeatedly during their cross-examination that I think I
14 Q. Which one? 14 counted six different times that Mr. Mendez had not yet
15 A. Howard Cantor. 15 began to serve a day in jail?
16 Q. And was that because Howard Cantor asked to 16 A. Idon't know how many times, but I was
17 goin to start his sentence? 17 definitely asked that, yes, sir.
18 A. I believe that was the case. He wanted to 18 Q. And as far as you know, Mr. Freeman, the
19 get it over with, yeah. 19 person that's making that decision is United States
20 Q. And Mr. Freeman, for the people who pled 20 District Judge Jordan?
21 guilty and cooperated with the U.S. Attorney's office 21 A. Yes, sir.
22 and the FBI, took responsibility for their crimes, are 22 Q. Mr. Freeman, do you recall BDO asking you
23 you the one sentencing them? 23 whether or not BDO ever received any financial
24 A. Not necessarily. 24 information from StrataSys?
25 Q. Who is the person who's making the decision
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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 19 of 42

41 (Pages 830 to 833)

 

 

Page 830 Page 8328
1 MR. THOMAS: With His Honor's permission, 1 Q. And for the next year at most it could be
2 ‘I'll approach the witness with Exhibit 472 in evidence. 2  4plus 14 or 18 million, right?
3 THE COURT: You may. 3 A. That would be the math, yes, sir.
4 MR. THOMAS: (Complies.) 4 Q. Mr. Freeman, I'd like for you to please look
5 BY MR. THOMAS: 5 at Exhibit 286A in evidence. Mr. Freeman, 286A, that's
6 Q. Mr. Freeman, you see that Bates stamp down 6  aninternal work paper of BDO; is that right?
7 there on the bottom that says BDO? 7 _A. Yes, This is a work paper I got from BDO.
8 A. Yes, sir. 8 Q. And when we say a work paper by BDO, what
9 Q. Is that your understanding that this is a 9 does that mean?
10 document produced by BDO Seidman? 10 A. This would be one of the documents used to
11 A. Yes, sir. 11 perform the independent certified audit. These are
12 Q. And what is this document, Mr. Freeman? 12 what's known as the work papers that make up the overall
13 A. It's a technology consulting firm 13 file.
14 confidential profile that I received from BDO. 14 Q. So this shows the work BDO did on the 2001
15 Q. Mr. Freeman, could I get you to quickly turn 15 audit; is that right?
16 _ to the last page to me there -- with me there? 16 A. Yes, sir.
17 A. (Complies.) 17 Q. And that's the -- 2001, that's the same year
18 Q. And what's the date of this document? 18 as the StrataSys information that was given to BDO
19 A. August 9th, 2001. 19 that's Plaintiffs’ Exhibit Number 432?
20 MR. THOMAS: And if it's not too much 20 A. Yes, sir.
21 trouble, can you go back to the first page? 21 Q. Now, on BDO's own internal work paper, how
22 (Technician complies.) 22 much in accounts receivable does BDO say there is at
23 MR. THOMAS: Thank you. 23 = StrataSys?
24 BY MR. THOMAS: 24 A. There's two places, the 16 million -- almost
25 Q. Mr. Freeman, if you look down with me under § 25 500,000, that 022410.
Page 831 Page 833 §
1 net fee revenue, do you see that, Number 9? 1 MR. THOMAS: You all see that one?
2 A. Yes, sir. 2 Can you highlight that for us?
3 Q. And what does StrataSys tell BDO their 3 (Technician complies.)
4 latest completed year net fee revenue is? 4 THE WITNESS: And then down below at
5 MR. SCHNAPP: Objection. Speculation. 5 0022230, roughly 5 million more.
6 THE COURT: Overruled. 6 BY MR. THOMAS:
7 THE WITNESS: Approximately $4 million. 7 Q. And 16 and a half million plus 5 million is
8 BY MR. THOMAS: 8 how much?
9 Q. And if you look at the next projected here, 9 A. 21 million that would be outstanding at
10 they think they're going to get $4 million again? 10 December 31, which means the receivables that are less
11 A. Yes, sir. 11 ‘than 90 days old or 120 days old.
12 Q. And that's for products and as much as 120r § 12 Q. So they're showing from StrataSys accounts
13 14 million for services; is that right? 13 receivable of 21 and a half million dollars?
14 A. Itsays, products 12 million, and then my 14 A. Yes, sir.
15 belief is, products 14 million would be the second -- 15 Q. That's a business StrataSys is doing, right?
16 MR. SCHNAPP: Objection. Speculation. 16 A. Yes, sir.
17 THE COURT: Overruled. 17 MR. THOMAS: Can we get that side by side?
18 BY MR. THOMAS: 18 (fechnician complies.)
19 Q. Well, Mr. Freeman, at most -- in the last 19 BY MR. THOMAS:
20 completed year at most it could be 16 million, right, 20 Q. Inthe latest completed year the most would
21 4plus 12? 21 be -- if we add those together, would be 16 million, is
22 A. Yes, sir. 22 that right, on the bottom for the net fee revenue, the i
23 Q. And for the next -- and this is signed in 23 one in 2001. e
24 2001, right? 24 Do you remember that document was in 2001? i
25 A. Yes, sir. A. That would be for the total year which would

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 20 of 42

42 (Pages 834 to 837)

 

 

Page 834 Page 836 §

1 be approximately a million 4 a month. 1 BDO certified, turned out to be fake?

2 Q. So that's how much StrataSys told BDO they 2 A. Yes.

3 had vas for the whole year, 16 million in 2001, right? 3 MR. THOMAS: Your Honor, I have no further

4 A. For the whole year. 4 questions of this witness. ,

5 Q. In BDO's own work papers they said they had 5 Thank you very much, Mr. Freeman.

6 21 anda half million? 6 THE COURT: 10 minutes to -- 12 minutes

7 A. At the end of the year. 7 ~~ before time.

8 Q. So how much would it have been if you had 8 Mr. Freeman, leave your microphone.

9 added it up for the whole year? 9 THE WITNESS: Gladly, Your Honor.

10 A. Should have been about 5 million based on 10 THE COURT: You may step down.
11 the 16. 11 THE WITNESS: Thank you. (Complies.)
12 Q. So the 21 and a half million should have 12 THE COURT: Allright. Now we can move on
13 been million? 13 with our lives for today.
14 A. Yeah. 14 JUROR: Yes.
15 MR. SCHNAPP: Objection. 15 THE COURT: 9:30 Monday morning, same place.
16 THE COURT: Overmuled. 16 We'll come and get you as soon as we can.
17 BY MR. THOMAS: 17 You're not to discuss the case amongst
18 Q. Mr. Freeman, based on your investigation as 18 yourselves. You're not to have anybody discuss the case
19 the court-appointed receiver, how could on the one hand 19 with you. You're not to read, listen, or see any
20 BDOactually receive financial information from 20 reports about this case in the media.
21  StrataSys that showed 16 million for the whole year but 21 You're not to form a fixed opinion about the
22 in their own work papers BDO say they had 21 and ahalf §22 merits of the case until you have heard all of the
23 for just the last few months? 23 evidence, the argument of the lawyers, and the
24 MR. SCHNAPP: Objection. Argumentative. 24 instruction on the law by me. And you are to disregard
25 Also nisstates. 25 _ the presence of the lawyers in this courtroom, and
Page 835 Page 8379

1 THE COURT: Sustained. 1 they're to disregard yours.

2 BY MR. THOMAS: 2 Have a good weekend. Don't forget to bring

3 Q. Mr. Freeman, based on your investigation, 3 your tags on Monday. Bring sweaters. I see some of you

4 can you reconcile StrataSys telling BDO there was 4 get cold. If you don't bring your sweaters, so can't

5 16 million for the whole year in this document and BDO 5 help you. Okay?

6 turning around and saying that there was 21 and a half 6 All right. We'll see you Monday morning.

7 million in accounts receivable in this document? 7 (Thereupon, the jury was escorted out of the

8 MR. SCHNAPP: Objection. Speculation. 8 courtroom.)

9  Mischaracterizes the document. 9 THE COURT: Okay. Unless there's something
10 THE COURT: Overruled. 10 else pending, we'll break until Monday morning. Have a
il THE WITNESS: Can you reread the question? 11 good one.

12 THE COURT: Read it back. 12 MR. THOMAS: You too. H
13 (Thereupon, the court reporter read back the 13 MR. SCHNAPP: Thank you, Your Honor. f
14 requested portion.) 14 f
15 THE WITNESS: Could you read it one more 15 (Thereupon, at approximately 3:50 p.m., the

16 time? 16 above portion of the trial was concluded.)

17 (Thereupon, the court reporter read back the 17

18 requested portion.) 18 * * *

19 THE WITNESS: I can't reconcile it. Their 19

20 own records showed both numbers, and they're totally at 20

21 odds with each other. 21

22 BY MR. THOMAS:

23 Q. And, in fact, Mr. Freeman, isn't it true

24 that at the end of the day the millions and millions of

25 dollars from StrataSys, BDO's own alliance partner that

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 21 of 42

 

      
   
   

Page 839
IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT

IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP,
Defendant.

BDO SEIDMAN, LBP,
Third-Party Plaintiff,
vs.
VICTOR BALESTRA, BERNARD MOLLET, JOAQUIN GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPTANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANI,
Third-Party Defendants.

PAGES 839 - 931

Volume 8

MORNING SESSION
Miami, Florida
Monday, April 16, 2007
9:55 a.m.

Before the Honorable Jose M. Rodriguez

Reported by: Gizella "Gigi" Baan

 

 

 

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 22 of 42

2 (Pages 840 to 843)

 

 

 

 

Page 840 Page 842 §

1 APPEARANCES 1 On behalf of Third-Party Defendants Victor Balestra,

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Page 841 Page 843,

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 23 of 42

3 (Pages 844 to 847)

 

 

  
   
 
 
 
   
   
 
 
 
 
 
  
   
 
 
 

 

 

    
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  

 

Page 844 Page 846
1 PROCEEDINGS 1 questioning -- that you've done this before in this
2 THE COURT: Let me know when you all are 2 trial.
3 ready. 3 THE WITNESS: I understand.
4 Thope you all had a good weekend. I'm glad 4 THE COURT: There's nothing to refer to the
5 you guys didn't go home because you probably wouldn't 5 last trial whether in questioning or in answering.
6 have been able to get back. 6 MR. ALVAREZ: Judge, in the event that I
7 MS. ALEXANDER: Ready, Your Honor. 7 — need to impeach him with testimony from the mistrial, I
8 THE COURT: Mr. Alvarez, are you ready? 8 will ask him whether or not he's testified before you
9 MR. ALVAREZ: Yes, sir. 9 before, correct?
10 THE COURT: Bring them in. 10 THE COURT: That's fine. Before you do
11 THE BAILIFF: (Complies). 11 _ that, let's have a side-bar and see exactly what we're
12 All rise for the jury. 12 going todo. We're not there yet. We've got a while.
13 (Thereupon, the jury was brought into the 13 MS. ALEXANDER: So I understand, if
14 courtroom.) 14 Mr. Alvarez is going to be impeaching with prior
15 THE COURT: Allright. You may be seated. 15 testimony from the prior proceeding, we're going to have
16 Good morning, ladies and gentlemen. Today is Monday. 16 =a side-bar first?
17  Wehave Tuesday, Wednesday, Thursday, and Friday to go. 417 THE COURT: Yes.
18 Okay? I thought I'd give you a preview of what's to 18 (Thereupon, the side-bar conference was
19 come. . 19 concluded.)
20 I hope you had a good weekend. J hope you 20 THE COURT: You may proceed.
21 rested over the weekend. I hope you had fun over the 21 MS. ALEXANDER: Good morning, ladies and
22 weekend. I hope you didn't have to deal with a lot of 22 gentlemen.
23 your children over the weekend. But it’s a lot of 23 DIRECT EXAMINATION
24 hopes. 24 BY MS. ALEXANDER:
25 So are you ready to go? 25 Q. Good morning, Mr. Mendez.
Page 845 Page 847 —
1 THE JURY: (Nodding). 1 A. Good morning, Ms. Alexander.
2 THE COURT: Are you ready? Are you sure, 2 Q. Mr. Mendez, did you work for the Orlanskys
3 Mr. Cooper? 3 in the factoring business?
4 JUROR: Yes, sir. 4 A. Yes, I did.
5 THE COURT: You really have no choice but -- 5 Q. And when did you begin to work for the
6 (Laughter). 6  Orlanskys in the factoring business?
7 Allright. Let's get this thing started. 7 A. I began in 1989.
8 Ms. Alexander, you may call your next witness. 8 Q. And at what company is that?
9 MS. ALEXANDER: Espirito Santo calls Carlos 9 A. That was Bankest Capitol Corp.
10 Mendez. 10 Q. What was your position at Bankest Capital
11 THE COURT: Step up, Mr. Mendez. 11  Corp.?
12 THE CLERK: Please remain standing and raise $12 A. Ican't hear you very well.
13 your hand. 13 Q. Let's try moving it over here. Is that
14 Thereupon, 14 better?
15 CARLOS MENDEZ, 15 A. Yes. Sorry.
16 having been duly swom by the clerk of the Court, 16 Q. That's quite all right. And what was your :
17 _ testified as follows: 17 position at Bankest Capital Corp.? ;
18 THE COURT: Before we get started, I need a 18 A. Iwasa vice president with the company. Fe
19 — side-bar with Mr. Mendez as well. 19 Q. And were you part of the day-to-day
20 (Thereupon, there was a side-bar conference 20 management at Bankest Capital? i
21 outside the presence and hearing of the jury.) 21 A. Yes. :
22 THE COURT: Mr. Mendez, this is really 22 Q. And then did you later work for another :
23 directed at you and to the lawyers that are going to be 23 factoring entity owned by the Orlanskys? :
24 questioning you. You're not to let the jury know in any 24 A. Yes. :
25 way, shape or form — and that includes the lawyers by 25 Q. What was the name of that company? ;

 

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 24 of 42

4 (Pages 848 to 851)

 

 

Page 848 Page 850
1 A. It was called Bankest Receivables, Finance 1 ‘Espirito Santo Group Bank, yes.
2 and Factoring Corp. 2 Q. And the loans that Espirito Santo's
3 Q. IfI refer to it as BRFFC, will you 3 customers made to BRFFC and then to E.S. Bankest, how
4 understand what I'm talking about? 4 were they supposed to be paid back?
5 A. Yes. 5 A. I'msorry. Would you repeat it?
6 Q. And when did you start working at BRFFC? 6 Q. The loans that the customers made, that
7 A. 1994, 7 Espirito Santo's customers made to BRFFC and ES.
8 Q. And what was your position at BRFFC? 8 Bankest, how were those loans supposed to be paid back?
9 A. It was vice president as well. 9 A. Well, the source of repayment was the
10 Q. So you were also part of the day-to-day 10 collection of the accounts receivable.
11 management at BRFFC? 11 Q. So were the accounts receivable owned by
12 A. Yes. 12  BRFFC and later E.S. Bankest supposed to be the
13 Q. And then did you also have a position at 13 collateral for those loans?
14 ES. Bankest? 14 A. That is correct.
15 A. Yes, I did. 15 Q. And why did BRFFC and E.S. Bankest need to
16 Q. And what was your position there? 16 be audited?
17 A. Initially it was vice president and towards 17 A. Because the company had to give comfort, had
18 the end of the company, I was senior vice president. 18 to give comfort to the investors. And at E.S. Bankest
19 Q. And again, were you part of the day-to-day 19 it was arequirement, but the main reason for the audits
20 management at E.S. Bankest? 20 with -- it was to provide the lenders with, you know,
21 A. Yes. 21. with a certified financial and economic condition of the
22 Q. And as part of the day-to-day management at 22 company to its lenders to make them have faith in the
23  Bankest Capital, BRFFC and Bankest, were you personally [|_23 company and be comfortable with their investments.
24 familiar with the operations of those companies? 24 Q. And when you were at BRFFC and then later at
25 A. Yes. 25 _ E.S. Bankest, did you provide the audited financial
Page 849 Page 851 P
1 Q. Did BDO audit BRFFC and E.S. Bankest? 1 statements to the people making the loan to those :
2 A. Yes. 2 companies?
3 Q. And were you the point person for BDO when 3 A. Yes.
4 they came to audit those two companies? 4 Q. And did BDO Seidman, as the auditor for
5 A. Yes, I was. 5 BRFFC and then E.S. Bankest, know that Bankest was
6 Q. Now, you said that BRFFC and E.S. Bankest 6 providing its audited financial statements to those
7 ~~ were factoring companies. What do you mean by 7 lenders?
8 factoring? 8 MR. ALVAREZ: Objection. Lack of
9 A. Factoring is -- it's a financial arrangement 9 foundation, lack of a predicate. Calls for hearsay
10 whereby companies borrow funds by selling their accounts —/10 information. ;
11 receivable to the factor at a discount and the factor 11 THE COURT: Sustain it. Rephrase your fi
12 collects the accounts receivable from the customers. 12 question. :
13 Q. And how did BRFFC and E.S. Bankest raise 13. BY MS. ALEXANDER: i
14 money to fund the purchase of accounts receivable? 14 Q. As the point person for BDO when they came :
15 A. The funding came from borrowings of monies 15 to audit BRFFC and E.S. Bankest, do you know -- did you §
16 __ that were lent to the company by investors called 16 inform BDO what the companies were going to be using -- i
17 debenture holders at BRFFC, and Jater at E.S. Bankest 17 how the companies were going to be using their audits? :
18 were note holders, and also the bank -- I mean, the 18 MR. ALVAREZ: Objection to the reference of :
19 company borrowed -- had from the bank of Espirito Santo §19 BDO. BDOis nota person. We ask that whoever it is he :
20 Bank, they had a line of credit with the bank at E.S. 20 is referring to be specified and a time period. :
21  ~Bankest. 21 MS. ALEXANDER: Your Honor, speaking !
22 Q. And the investors who loaned money to BRFFC 22 objection. :
23 and E.S. Bankest, were those the customers of Espirito 23 THE COURT: Overruled. :
24 Santo? 24 MS. ALEXANDER: You overruled my objection ;
25 A. Inits majority yes, they were clients of or his objection? i

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 25 of 42

5 (Pages 852 to 855)

 

   
   
   
  
  
  
  
  
  
  
   
  
  
   

 

 

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Page 852 Page 854
1 THE COURT: You didn't have an objection. 1 document now, is this a copy of the BRFFC audited
2 = They did. 2 financial statements for year-end 1995 that you received
3 They objected. I overruled it. 3 as the vice president of BRFFC?
4 BY MS. ALEXANDER: 4 A. Yes.
5 Q. You can answer the question. 5 MS. ALEXANDER: Plaintiffs move Plaintiffs’
6 A. Idid inform the auditors, BDO, that the 6 Exhibit 65-A into evidence.
7 financial statements, the audited report was going to be 7 MR. ALVAREZ: Objection on the grounds of
8 provided to the lenders, to the note holders as well as 8 relevance. This document has nothing to do with E.S.
9 to the bank. 9 Bankest.
10 Q. And you did that both at BRFFC and at E.S. 10 THE COURT: Overruled. I'll accept it into
11 Bankest? 11. evidence. Plaintiffs' Exhibit 65-A for ID is now 65-A
12 A. Yes. 12 into evidence.
13 Q. Now, Mr. Mendez, did you participate in a 13. BY MS. ALEXANDER:
14 fraud that began, started in 1995 at BRFFC? 14 Q. I'm turning now to the assets page which is
15 A. Yes. 15 BDO 04129. Do you see that?
16 Q. And did that fraud involve the creation of 16 A. Yes,I do.
17 fake accounts receivable? 17 Q. And when it says assets of a little over 4.7
18 A. Yes. 18 million in accounts receivable, do you see that?
19 Q. As the auditor for BRFFC and then for E.S. 19 A. Yes.
20  Bankest, did BDO ever detect that fraud? 20 Q. And those were the accounts receivable that
21 A. No. 21 were supposed to be there to repay the loans made by the
22 Q. I'm going to show you what's -- may I 22 investors in BRFFC?
23 approach, Your Honor? 23 A. Yes.
24 THE COURT: You may. 24 Q. And were there in fact, 4.7 million dollars
25 BY MS. ALEXANDER: 25 in accounts receivable to repay those loans as of
Page 853 Page 855
1 Q. (Complies). 1 year-end December 31st, 1995?
2 Mr. Mendez, I'm going to show you 65-A for 2 A. No.
3 identification. Can you tell me looking at the front 3 Q. I'm going to show you what is Plaintiffs’
4 page what that document is? 4 Exhibit 70 into evidence.
5 A. This is the audit report. This is the 5 Mr. Mendez, can you identify that document
6  andited financial statements as issued by BDO for the 6 for me?
7 year-end December 31st, 1995. 7 A. Yes. This is another financial statement
8 Q. And what entity is this audited financial 8 audited by BDO. This is BDO's report.
9 statement for? 9 Q. And for which entity is this for?
10 A. It's BRFFC, Bankest Receivables, Finance and § 10 A. For Bankest Receivables, Finance and
11 Banking Corp. 11 Factoring Corp.
12 MR. ALVAREZ: I'm going to object to any 12 Q. And again, could you turn to the balance
13 discussion about this document. 13 sheet under assets, page 4 of the document?
14 THE COURT: Sustained. Lay a predicate. 14 A. (Complies).
15 MS. ALEXANDER: Yes, Your Honor. 15 MR. ALVAREZ: Your Honor, same objection as
16 BY MS. ALEXANDER: 16 to the prior document. This has nothing to do with ES.
17 Q. Looking down at the bottom right-hand of the 17 Bankest. It has to do with BRFFC.
18 corner, Mr. Mendez, I'm still on the first page, did you §18 THE COURT: Overruled.
19  seea Bates label? 19 BY MS. ALEXANDER:
20 A. Yes. 20 Q. And Mr. Mendez, looking at the listing under
21 Q. And can you read what that first number is? 21 accounts receivable and then the 12.7 million, is that
22 A. I'msorry. The number of the page? 22 the 12.7 million in accounts receivable that was
23 Q. The letters and then the number. 23 supposed to be there to repay the loans made by the
24 A. It's BDO 04125. 24 investors to BRFFC?
25 Q. Thank you. And is this a -- looking at this 25 A. Yes.

  
   
  
  
  
  
  
  
  
   
  
  
   
   
   

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 26 of 42

6 (Pages 856 to 859)

 

 

 

    

 

Page 856 Page 858 ;

1 Q. And as of year-end December 31st, 1996 were 1 the -- whatever it is the Court has (inaud.) :

2 there, in fact, 12.7 million dollars in accounts 2 MS. ALEXANDER: I'm sorry. It’s Plaintiffs’

3 _ receivable to repay those loans? 3 Exhibit 75 in evidence. F

4 A. No. 4 THE WITNESS: I can identify the attachment :

5 Q. And why not? 5 _ to this document. 3

6 A. Because in that number, there were 6 BY MS. ALEXANDER:

7 receivables that were either fake or receivables that 7 Q. Looking at page 2 of the document, is that :

8 were not -- that the company knew that were not 8 what you're referring to? ;

9 collectible, good receivables, that were being kept as 9 A. I'msorry? ;
10 part of the collateral, you know, with no right to have 10 Q. Are you referring to page -- starting at :
11 it there. There was -- it was not a good receivable. 11 page 2 of the document? ;
12 MS. ALEXANDER: May I approach? Your Honor, 9.12 A. That is correct. :
13 may approach the witness? 13 Q. And what is that? f
14 THE COURT: You may. 14 A. This is the audited financial statements for
15 BY MS. ALEXANDER: 15 ES. Bankest for the year-ending again December 31st,
16 Q. Mr. Mendez, I'm now going to hand you what's 16 1999, :
17 been marked as Plaintiffs' Exhibit 74 in evidence. Can 17 Q. And again, these are audited financial :
18 you tell me what that document is? 18 statements prepared by BDO Seidman? :
19 A. Yeah. This is BDO's audited financial 19 A. That is correct. :
20 statements for E.S. Bankest for fiscal year-end December § 20 Q. And looking at the balance sheet page of
21 31st, 1998. 21 this document starting at page 3, under accounts i
22 Q. And was this the first audit that BDO 22 receivable, where it says that there is over 58 million !
23 conducted of E.S. Bankest? 23 dollars in accounts receivable, again, were those the bi
24 A. Yes. 24 accounts receivable that were supposed to be there to i
25 Q. And turning to the asset page again, page 25 repay the loans made by the investors in E.S. Bankest? ;
Page 857 Page 859

1 Number 3 of Exhibit 74, looking at the listing under 1 A. Yes.

2 accounts receivable where it reads 40.6 million dollars 2 Q. And were there, in fact, over 58 million ‘|

3 in accounts receivable, were those -- again, were those 3. dollars in accounts receivable at E.S. Bankest as of
4 the accounts receivable that were supposed to be there 4 year-end 1999?
5 to repay the loans made by the investors in E.S. 5 A. No. i
6  Bankest? 6 Q. And again, were those accounts -- is that

7 A. Yes. 7 because those -- that number included accounts

8 Q. And were there, in fact, 40.6 million 8 receivable that were fake? fl

9 dollars in accounts receivable at E.S. Bankest as of 9 A. That is correct.
10 year-end 1998? 10 MS. ALEXANDER: May I approach, Your Honor? :
11 A. No. 11 THE COURT: You may. ;
12 Q. And why not? 12 BY MS. ALEXANDER:
13 A. Because there was a substantial amount of 13 Q. (Complies).
14 receivables within that number that were fake 14 Mr. Mendez, I'm giving you what is F
15 receivables, that were not real receivables. 15 Plaintiffs' Exhibit 78 in evidence. Can you tell me i
16 Q. Thank you. 16 what that document is? :
17 Now, looking at Plaintiffs' Exhibit Number 17 A. This is BDO's audited financial statement E
18 75 in evidence. 18 for the year-ending December 31st, 2000. ft
19 MS. ALEXANDER: May I approach, Your Honor? § 19 Q. And looking at the balance sheet for ;
20 Excuse me. 20 year-end 2000, it starts at page 3 of this exhibit. Do :
2i THE COURT: You may. 21 you see where it says accounts receivable and it says :
22 BY MS. ALEXANDER: 22 there's 103 million dollars in accounts receivable at i
23 Q. (Complies). 23 ES. Bankest? ,
24 Can you tell me what this document is? 24 A. Yes. i
25 THE COURT: Can you identify the document by 25 Q. Was there, in fact, 103 million dollars in f
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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 27 of 42

Page 860

7 (Pages 860 to 863)

Page 862 §

 

   
   
   
  
 
 
 
 
 
 
 
 
 
  

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receivables at E.S. Bankest?

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1 accounts receivable at E.S. Bankest as of year-end 2000? 1 A. Yes.

2 A. No. 2 Q. And again, those 223 million dollars in

3 Q. And again, is that because the majority of 3 accounts receivable were the accounts receivable that

4 those accounts receivable were fake? 4 were supposed to be there to pay back the investors of

5 A. A pretty substantial percentage of that 5 ES. Bankest?

6 amount was -- were fake receivables, yes. 6 A. That is correct, yes.

7 Q. Just a couple more. , 7 Q. And again, were there, in fact, 223 million

8 MS. ALEXANDER: Your Honor, may I approach? 8 dollars in accounts receivable at E.S. Bankest as of

9 THE COURT: You may. 9 year-end 2002?
10 BY MS. ALEXANDER: 10 A. No.
11 Q. (Complies). 11 Q. And is that because the majority of them
12 Mr. Mendez, I'm approaching with Plaintiffs’ 12 were fake?
13 Exhibit 81 in evidence. And can you identify this 13 A. The majority were fake, yes.
14 document for me? 14 Q. Now, Mr. Mendez, you were a participant in
15 A. This is, again, the audited financial 15 the fraud that created these fake receivables?
16 statements as reported by BDO to the company of E.S. 16 A. Yes.
17 Bankest for the fiscal year-end December 31st, 2001. 17 Q. And you were indicted for that fraud, is
18 Q. And looking at the balance sheet, page 3 of 18 that right?
19 the document, and can you see under where accounts 19 A. Yes.
20 receivable it says that there's over 153 million dollars 20 MS. ALEXANDER: Your Honor, may I approach?
21 of accounts receivable at E.S. Bankest? 21 THE COURT: You may.
22 A. Yes. 22 MS. ALEXANDER: (Complies). i
23 Q. And again, this was the 153 million dollars 23 BY MS. ALEXANDER: 4
24 in accounts receivable that was supposed to be there to 24 Q. Approaching Mr. Mendez with what is
25 repay the loans made by the investors at E.S. Bankest? 25 Exhibit 3149.

Page 861 Page 863}

1 A. Yes. 1 MR. ALVAREZ: Is that the document that

2 Q. And were there, in fact, 153 million dollars 2 (inaud.)?

3 in accounts receivable at E.S. Bankest as of year-end 3 MS. ALEXANDER: Yes.

4 2001? 4 BY MS. ALEXANDER:

5 A. No. 5 Q. And Mr. Mendez, this is the indictment that

6 Q. And is that because the majority of them 6 charges you with crimes involving the creation of fake

7 were fake? 7 receivables at E.S. Bankest?

8 A. Yes. 8 A. Yes.

9 MS. ALEXANDER: May I approach, Your Honor? 9 Q. And that's -- fl
10 THE COURT: You may. 10 (Technician complies.) :
11 BY MS. ALEXANDER: 11 And that's your name there? f
12 Q. (Complies). 12 A. Yes. :
13 Mr. Mendez, I'm approaching with what's been 13 Q. Turning now to page 3 of the document, ;
14 = marked as Plaintiffs' Exhibit 87 in evidence. Can you 14 paragraph 8. ie
15 tell me what that document is? 15 (Technician complies.) i
16 A. This is the audited financial statements as 16 Where it reads, Defendant, Carlos Mendez, :
17 reported by BDO to the company for the fiscal year-end 17 was asenior vice president of Bankest. He managed the A
18 December 31st, 2002. 18 finance operations of Bankest, BCC, and BRFFC." DidI §;:
19 Q. And again, these were prepared by BDO 19 read that right? ;
20 Seidman? 20 A. Yes.
21 A. Yes. 21 Q. And that is you? :
22 Q. In looking at the balance sheet on page 3, 22 A. That is correct. ;
23 you see where it says accounts receivable and it says 23 Q. Did you plead guilty to these crimes of the y
24 that there is 223 million dollars in accounts 24 indictment? k

A. Yes, I did.
 

Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 28 of 42

Page 864

8 (Pages 864 to 867)

Page 8668

    
  
   
   
  
  
  
   
   
  
  
  
  

 

1 . Q. And I'm looking now at page 7 of the 1 working at these companies?

2 document. Under manner and means of the conspiracy, 2 A. Yes.

3 starting with paragraph 4. "The defendants,” and that 3 Q. And then the next page under 10. ''The

4 would include you, Mr. Mendez? 4 defendants would change the dates on accounts receivable

5 A. Yes. 5 to make them appear more recent and, thus, more likely

6 Q. "Would inflate the quantity and value of 6 tobe collectible." Did you also do that when you were

7 accounts receivable used as collateral for the debenture 7 at these companies?

8 notes." Did I read that correctly? 8 A. Yes.

9 A. Yes. 9 Q. And Number 11. "The defendants would seek
10 Q. When we were looking at audited financial 10 _ to thwart the audit function by providing auditors with
11. statements, are those the same accounts receivables that [}11 fictitious invoices." Did you also do that?

12 were being used for the collateral for the debenture 12 A. Yes.
13 notes? 13 Q. And did that include providing fictitious
14 A. Yes. 14 invoices to BDO Seidman?
15 Q. And you pled guilty to inflating the 15 A. Yes.
16 quantity and value of those accounts receivable? 16 Q. And number 12. "The defendants would seek
17 A. Yes. 17 to thwart the audit function by providing auditors with
18 Q. I'm looking at number 5. ''The defendants" 18 fictitious checks." Did you do that?
19 -- and that would include you, Mr. Mendez -- "would 19 A. Yes.
20 represent that the invoices they knew to be 20 Q. And did that include providing BDO Seidman
21 uncollectible were actually collectible." Did I read 21 with fictitious checks?
22 that correctly? 22 A. Yes.
23 A. Yes. 23 Q. And number 13. "Some of the defendants
24 Q. And you did that? 24 would represent that uninsured accounts receivable were
25 A. Yes. 25  imsured.” Did you also engage in that conduct?
Page 865 Page 867 :

1 Q. I'm looking at number 7. "The defendants 1 A. Yes.

2 would create fictitious accounts receivable records 2 Q. And number 14. "Some of the defendants

3. where there were no actual invoices or sales at all." 3 _-would seek to thwart the audit function by providing

4 Did I read that correctly? 4 auditors with fictitious insurance confirmations

5 A. Yes. 5 _ reflecting that accounts receivable were actually

6 Q. And did you do that? 6 insured when, in fact, they were not insured." Did you

7 A. Yes. 7 also engage in that conduct?

8 Q. I'm looking at number 8. "The defendants 8 A. Yes.

9 would prepare materially false financial statements." 9 Q. And did that include providing BDO Seidman
10 ~—— Did you do that? 10 as the anditors for BRFFC and E.S. Bankest with
11 A. Yes. 11 fictitious insurance confirmations?

12 Q. And number 9. 'The defendants would cycle 12 A. Yes.

13 money from Bankest to BCC to factoring clients and then § 13 Q. And number 15. "Some of the defendants
14 back to BCC and Bankest with no underlying factoring 14 would seek to thwart the audit function by providing
15 transaction in order to make it appear that the 15 auditors with fictitious and forged audit inquiry

16 factoring client's accounts receivable were being paid 16 confirmation letters." Did you also engage in that
17 ona timely basis."" Did you also do that? 17 conduct?

18 A. Yes. 18 A. Yes.

19 Q. And, I'm sorry, Mr. Thomas pointed out that 19 Q. And did that include providing BDO Seidman i
20 [skipped number 6. Can we go back to the prior page? 20 with fictitious and forged audit inquiry confirmation
21 (Technician complies.) 21 letters?

22 And number 6. "The defendants would 22 A. Yes.

23 represent that invoices prepared prematurely for goods 23 Q. Number 16. 'The defendants would obtain
24 not yet shipped were actually valid, legitimate invoices 24 unqualified audit opinions on false financial

25 for shipped goods." Did you also do that when you were

 

   
    
 
   
  
  
  
   
  
  
   
 
   
     

statements."" Did you also engage in that conduct?

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 29 of 42

9 (Pages 868 to 871).

 

 

Page 868 Page 870
1 A. Yes. 1 A. Yes, I can.
2 Q. And you would obtain unqualified audit 2 Q. And what is it? :
3 opinions from BDO Seidman? 3 A. This is the plea agreement that I signed i
4 A. Yes. 4 with the government. ;
5 Q. And number 17. ''The defendants would 5 Q. Now, as a result of this plea agreement, was ;
6 present the false audited financial statements to 6 your sentence reduced from the maximum possible sentence i
7 Espirito Santo Bank in order to continue obtaining 7 that could be imposed for the crimes that you committed? i
8 funding.’ Did you also provide BDO's audited financial 8 A. Yes. I mean, it's a lesser sentence. ;
9 statements to Espirito Santo Bank in order to continue 9 Q. A lesser sentence. And how long have you
10 to receive funding for the company? 10 been sentenced to?
11 A. Yes. 11 A. Nine years. :
12 Q. And did you also -- under number 18, would 12 Q. And looking at paragraph 7 on page 3 of the
13 you present the false audited financial statements 13 document of your plea agreement, I'm just going to read,
14 prepared by BDO Seidman to Espirito Santo Bank to show 14 "This office agrees that it will" -- and that's the U.S.
15 compliance with the collateral ratio requirements in the 15 Attorney's Office?
16 loan agreements? 16 A. That is correct. E
17 A. Yes. 17 Q. "This office agrees that it will recommend
18 Q. You also engaged in that conduct? 18 sentencing that the Court reduce by two levels the
19 A. Yes. 19 sentencing guideline level applicable to the defendant's :
20 Q. And number 19, would you prepare accounts 20 offense pursuant to Section 3E1A of the sentencing
21 receivable aging reports with inflated amounts? 21. guidelines based upon the defendant's recognition and i
22 A. Yes. 22 affirmative and timely acceptance of personal !
23 Q. And number 20. "The defendants would 23 _ responsibility." Did I read that correctly?
24 present the false accounts receivable reports to 24 A. Yes. H
25 Espirito Santo Bank in order to continue obtaining 25 Q. So did the government agree to reduce -- to :
Page 869 Page 871 :
1 funding." 1 seek a reduction of the sentence because you had :
2 A. Yes. 2 accepted responsibility for your crimes? :
3 Q. Can we go to page 9 of the document, and 3 A. Yes. :
4 paragraph 3? 4 Q. Now, did you testify at the criminal -- the :
5 (Technician complies.) 5 federal criminal trial?
6 This paragraph in the indictment reads on or 6 A. Yes, I did. i
7 about March 31, 1995 you, Mr. -- the Orlanskys and 7 Q. And who was on trial at that trial? :
8 Mr. Parlapiano communicated regarding funding Joy in an 8 A. There were four defendants on trial. i
9 amount greater than 80 percent of valid legitimate 9 Eduardo Orlansky, Hector Orlansky, Peter Stanham and fj
10 accounts receivable corresponding to the shipped 10 ~~ Ariadna Puerto. P
11 merchandise. Was this the first fraudulent act that you 11 Q. And how many days did you testify? :
12 engaged in working for the Orlanskys and their factoring 12 A. Thirty. About 30. :
13 business? 13 Q. And were all those four defendants :
14 A. Yes. 14 convicted? E
15 Q. And this is when the fraud began? 15 A. Yes. :
16 A. That is correct. 16 Q. And did you understand that you're obligated :
17 Q. You pled guilty to this fraud? 17 to testify truthfully here today? :
18 A. Yes, I did. 18 MR. ALVAREZ: Objection. Judge, it's an :
19 MS. ALEXANDER: May I approach, Your Honor? 19 oblique reference to the plea agreement. :
20 THE COURT: You may. 20 THE COURT: Hold on. I'm going to sustain :
21 BY MS. ALEXANDER: 21 it unless you lay a predicate. :
22 Q. (Complies). 22 BY MS. ALEXANDER:
23 Mr. Mendez, I'm approaching with Plaintiffs’ 23 Q. Looking further down on paragraph 7 starting
24 Exhibit 17 and 67 in evidence. Can you identify that 24 with, "However, this office will be required -- not be
25 document for me? 25 _ required to make these sentencing recommendations if the

 

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 30 of 42

10 (Pages 872 to 875)

 

 

   

Page 872 Page 8748
1 defendant" -- and then could you highlight Number 3 -- 1 Q. And you testified that you are currently
2 "commits any misconduct after entering into this plea 2 sentenced for nine years; is that right?
3 agreement including but not limited to committing a 3 A. That is correct.
4 state or federal offense, violating any term of release, 4 Q. Are you also seeking a further reduction of
5 or making false statements or misrepresentations to any 5 that sentence?
6 government entity or official." Did I read that 6 A. Yes.
7 ~~ correctly? 7 Q. And who's responsible, whose decision is it
8 A. Yes. 8 whether or not to further reduce your sentence?
9 Q. And do you understand that if you provide 9 A. It's Judge Adalberto Jordan's decision,
10 testimony that is untruthful, you will violate this plea 10 Federal Judge Adalberto Jordan's decision.
11 agreement? 11 MS. ALEXANDER: May I approach, Your Honor?
12 MR. ALVAREZ: Objection, Your Honor. Calls 12 THE COURT: You may.
13 fora legal conclusion on his part in connection with an 13. BY MS. ALEXANDER:
14 agreement that is (inaud.) -- 14 Q. Mr. Mendez, I'm going to show you what has
15 MS. ALEXANDER: Speaking objection. 15 been marked Plaintiffs' Exhibit for identification No.
16 THE COURT: Overruled. Answer the question. 16 7307. Can you tell me what that document is?
17 THE WITNESS: Yes, I do understand. 17 A. Yes.
18 BY MS. ALEXANDER: 18 Q. What is it?
19 Q. Now, prior to your testimony at the criminal 19 A. This is a letter written by Attorney Steven
20 trial, did you meet with the U.S. Attorney? 20 Thomas to my attorney basically stating that I have, you
21 A. Yes, I did. 21 know, consistently to the best of my knowledge, you
22 Q. And did you go over the subject matter of 22 know, told the truth and that he would be, you know,
23 your testimony at the criminal trial? 23 available to answer any questions, you know, as it
24 MR. ALVAREZ: Objection. Irrelevant. 24 relates to my sentencing.
25 THE COURT: Overruled. 25 Q. And did you receive a copy of this letter
Page 873 Page 875 —
_ THE WITNESS: Yes. 1 around the time when it was sent? :
2 BY MS. ALEXANDER: 2 A. Yes. My attorney showed me a copy of the :
3 Q. And did you meet with me today prior to 3 etter. :
4 testifying today? 4 MS. ALEXANDER: Plaintiffs move Exhibit 7304 E
5 A. I'm sorry? 5 into evidence. H
6 Q. Did you meet with me prior to testifying 6 MR. ALVAREZ: Objection, Your Honor.
7 here today? 7 Improper bolstering. ;
# 8 A. Yes. 8 THE COURT: Can I see that, please? :
9 Q. And did we -- and what did we discuss? 9 THE WITNESS: (Complies). ;
10 A. Basically the type of -- the subject matter 10 THE COURT: Thank you. :
11 of the case, the questions that I was going to be asked. 11 Overtuled. It's accepted into evidence over H
12 Q. And did I tell you what the answers to the 12 defense objection. Plaintiffs’ Exhibit 7304 for ID is
13 questions were? 13 now in evidence.
14 A. I'm sorry, I couldn't hear. 14 MS. ALEXANDER: I'm sorry, Your Honor, :
fis Q. Did I tell you what the answers to the 15 _ that's actually the incorrect number. 7307. That's my ct
16 questions were? 16 mistake. 4
17 A. No. 17 THE COURT: 7307 is now in evidence. :
18 Q. And do you understand -- and what would be 18 MS. ALEXANDER: Thank you. ;
19 the consequence of a violation of your plea agreement? §19 BY MS. ALEXANDER: :
20 MR. ALVAREZ; Objection. Calls for a legal 20 Q. Mr. Mendez, does Mr. Thomas or any lawyer :
21 conclusion. 21 for Espirito Santo have any control -- :
22 THE COURT: Overruled. 22 A. I'msorry, I couldn't hear. H
23 THE WITNESS: To get the maximum sentence of | 23 Q. Mr. Mendez, is that better? fl
24 30 years. 24 Mr. Mendez, does Mr. Thomas or any lawyer
25 BY MS. ALEXANDER: for Espirito Santo control the amount of how long you're

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 31 of 42

11 (Pages 876 to 879)

 

 

 

 

 

 

 

 

 

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Page 876 Page 878 —
1 sentenced for? i Q. And the money that you raised using BDO's
2 A. No. 2 audited financial statements, is that the money that was
3 Q. And whose decision is that? 3 _ stolen as part of the fraud?
4 A. It's exclusively the Court's decision. It's 4 A. Yes.
5 the judge dispatched to the case, U.S. federal judge 5 Q. Mr. Mendez, did there come a time when you
6  Adalberto Jordan's decision. 6 thought BDO Seidman as the auditors would discover this
7 Q. We were just looking at the indictment and 7 ~~ fraud?
8 the indictment concluded that you had provided BDO 8 MR. ALVAREZ: Objection. Calls for
9 Seidman as the auditors for E.S. Bankest and BRFFC with 9 speculation.
10 = fake documents; is that right? 10 THE COURT: Overnuled.
11 A. Yes. 11 MR. ALVAREZ: In addition to that, 701,
12 Q. So did you lie to BDO Seidman as part of 12 Judge. Calis for an expert opinion.
13 this fraud? 13 THE COURT: Overruled.
14 A. Yes. 14 THE WITNESS: Yes.
15 Q. And was lying to BDO Seidman a critical part 15 BY MS. ALEXANDER:
16 of this fraud? 16 Q. And when was that?
17 A. Yes. 17 A. That was in early 1999 while BDO was
18 Q. Why was it a critical part of the fraud to 18 conducting their audit of E.S. Bankest for fiscal
19 lie to BDO Seidman? 19 year-end 1998. .
20 MR. ALVAREZ: Objection, calls for 20 Q. So that would be the first audit that BDO
21 speculation. 21 conducted of E.S. Bankest?
22 THE COURT: Sustained. 22 A. Yes.
23 BY MS. ALEXANDER: 23 Q. And what happened?
24 Q. Mr. Mendez, was it important to continue the 24 MR. ALVAREZ: Objection as to a narrative,
25 fraud -- was it necessary to continue the fraud to have 25 Judge.
Page 877 Page 879 :
1 BDO issue unqualified audits every year? 1 THE COURT: Overruled.
2 MR. ALVAREZ: Same objection. Judge, 2 THE WITNESS: I was the point person to deal
3 different question asking for the same information. 3. -- for my company to deal with the auditors and to
4 THE COURT: Sustain the objection. Rephrase 4 assist the auditors in providing them with the
5 _ the question. 5 documentation that they required to conduct their audit.
6 BY MS. ALEXANDER: 6 And the manager of the audit in that particular year
7 Q. Mr. Mendez, at BRFFC and at E.S. Bankest, 7 requested that E.S. Bankest or that I provide them for
8 what did you use BDO's unqualified audits for? 8 E.S. Bankest proof of payments for certain receivables
9 A. The audits were used mainly to induce 9 that we showed as paid in our records.
10 investors to lend monies to the company. And also to, 10 He wanted to see the proof of payment
11 you know, to use the bank, Espirito Santo Bank, you 11 originating from the customer all the way to the
12 know, to lend monies to the company. 12 company. The whole stream of the payment.
13 The main purpose was to give comfort to the 13. BY MS. ALEXANDER:
14 lenders that the company was -- it was a good operation, 14 Q. And what was the purpose of him asking you
15  aprofitable operation, it was a clean company. 15 for those documents?
16 Q. Without the audited financial statements 16 MR. ALVAREZ: Objection. Calls for a legal
17 provided by BDO Seidman, would have you been able to [17 conclusion.
18 continue to raise money at BRFFC and E.S. Bankest? 18 THE COURT: Sustained.
19 MR. ALVAREZ: Objection. Calls for 19 BY MS. ALEXANDER:
20 — speculation. 20 Q. Did you --
21 THE COURT: Overruled. 21 THE COURT: Go ahead. Ask the question.
22 THE WITNESS: No way. No way. It was 22 BY MS. ALEXANDER:
23 enitical. It was critical to have audited financial 23 Q. Did you have an understanding as to what why
24 statements to be able to raise monies. 24 he was asking for those documents?
25 BY MS. ALEXANDER: 25 MR. ALVAREZ: Objection. Calls for
Ne EE ee
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 32 of 42

12 (Pages 880 to 883)

 

 

 

 
 
  
  
 
 
 
 
 
 
  
 
 
 

 

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factor of Joy Athletic, and from Capital ultimately tc to

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SEES ase:

Page 880 Page 8828
1 speculation. 1 ES. Bankest, the company being audited.
2 THE COURT: Overruled. It's yes or no. 2 Q. So Mr. Ramon wanted documents starting from
3 THE WITNESS: Yes. 3 the customer here in our example Wal-Mart --
4 BY MS. ALEXANDER: 4 A. Yes.
5 Q. What was your understanding as to why BDO 5 Q. --showing payment to Joy, the client in our
6 Seidman was requesting those documents? 6 example?
7 MR. ALVAREZ: Objection. Lack of personal 7 A. Yes.
8 knowledge. Calls for speculation as part of the 8 Q. And then payment from Joy to Capital in our
9 witness, calls for hearsay. 9 example, and then proof of payment from Capital to
10 THE COURT: Sir, only if you know exactly 10  Bankest; is that correct?
11. why. Do you have an independent knowledge of why? 11 A. That is correct.
12 THE WITNESS: (Nodding). 12 Q. And were you able to give Mr. Rivera those
13 THE COURT: Is that a yes or no? 13 documents?
14 THE WITNESS: Yes. 14 A. No.
15 THE COURT: Overruled. 15 Q. Why not?
16 THE WITNESS: The auditor wanted to confirm 16 A. Because they didn't exist. The receivables
17 that the payments, in fact, were made and that the 17 in question were fake receivables so there was no such
18 monies were received ultimately by the company fromthe §/18 payment ever made by Wal-Mart to Joy Athletic.
19 party that was supposed to pay which was the customer. 19 Q. So Mr. Rivera was asking for proof of
20 BY MS. ALEXANDER: 20 payment on accounts receivable that were fake?
21 Q. So the auditor was asking for proof of 21 A. Yes.
22 payment that certain accounts receivable had, in fact, 22 Q. And when you didn't give Mr. Rivera those
23 been paid on? 23 documents, what happened?
24 A. Yes. 24 A. Well, I -- Mr. Rivera stopped the audit. He E
I 25 Q. And if he got proof of that payment, it 25  imstructed his team to -- i
Page 881 Page 883
1 would show that those accounts receivable were real? 1 MR. ALVAREZ: Objection.
2 A. Yes. 2 THE COURT: What's your objection?
3 MS. ALEXANDER: Your Honor, may I approach? 3 MR. ALVAREZ: Judge, he's going into a Bs
i 4 THE COURT: You may. 4 narrative. I would not know where to object to the ;
5 BY MS. ALEXANDER: 5 appropriate objection other than stop the audit. a
6 Q. (Complies). 6 THE COURT: Overruled. ‘
7 Mr. Mendez, I'm going to approach you witha | 7 THE WITNESS: He stopped the audit. He a
8 demonstrative and ask you to take a look at it. And let 8 instructed his team -- s
9 me know if it would aid you in describing BDO's Request 9 MR. ALVAREZ: Objection, calls for hearsay. :
10 for Documents in this particular instance. 10 THE COURT: Overruled. :
11 A. Yes. 11 THE WITNESS: -- to leave the audit field. ;
12 Q. And Mr. Mendez, the answer is yes? 12 That's what happened. E
13 A. Yes. Yes. I'm sorry. 13. BY MS. ALEXANDER: ;
14 Q. Can we put it up? 14 Q. And when you say "instructed his team to 2
15 (Technician complies.) 15 leave the audit field,” you mean the auditors left :
16 Mr. Mendez, you said that there was -- this 16  Bankest? :
17 was a request that came from the audit manager on the 17 A. Yes. :
18 1998 audit. What was his name? 18 Q. And for how long was the audit stopped? 5
19 A. Ramon Rivera. 19 A. This, as I recall, happened on a Friday and
20 Q. So Mr. Rivera was asking for documents for 20 the audit was resumed by the middle of the following a
21 proof of payment from which of these entities? 21 ~~ week. 1
22 A. Mr. Rivera wanted to see proof of payments 22 Q. And -- strike that. :
23 in this particular case from Wal-Mart to our client, Joy 23 And when BDO resumed the audit and the audit H
Athletic, and from Joy Athletic to Capital which was the 24 :

restarted, were you required to give them the documents
that Mr. Rivera had asked for from Wal-Mart to Joy to :

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 33 of 42

13 (Pages 884 to 887)

 

 

Page 884 Page 886 i

1 Capital? 1 BY MS. ALEXANDER: ;

2 A. No. 2 Q. Did Mr. Parlapiano have a meeting with :

3 Q. When the audit restarted, what did BDO ask 3 Mr. Lenner prior to the restart of the audit? i

4 for? 4 MR. ALVAREZ: Objection. Lack of personal §

5 MR. ALVAREZ: Objection, Judge. 5 knowledge. Lack of predicate. i

6 THE COURT: What's your legal objection? 6 THE COURT: Overruled. ‘

7 MR. ALVAREZ: There's no BDO. 7 THE WITNESS: Yes.

8 THE COURT: Overruled. 8 BY MS. ALEXANDER: :

9 THE WITNESS: BDO just wanted to see copy of 9 Q. And what is your -- what was the result of
10 the check from Joy to Bankest Capital Corp. They wanted §10 that meeting? i
11 tosee the payment, the check from Capital to Bankest 11 MR. ALVAREZ; Objection. Calls for hearsay. i
12 and that would be the extent of their new requirement. 12 THE COURT: Sustained. Rephrase your
13 BY MS. ALEXANDER: 13 question.
14 Q. So when the audit restarted, BDO wasn't 14 BY MS. ALEXANDER:
15 asking for documents from the customer, the one who 15 Q. What happened after that meeting? H
16 actually owed the money on the accounts receivable at 16 A. Mr. Parlapiano came back to our office to
17 issue? 17 ‘report -- :
18 A. That is correct. 18 MR. ALVAREZ: Objection as to what it is i
19 MR. ALVAREZ: May I ask that -- objection. 19 that Mr. -- . ;
20 Leading. And so is every other question. 20 THE COURT: Overruled.
21 THE COURT: You can object to them. 21 MR. ALVAREZ: The objection is hearsay,
22 Overruled. It's been asked and answered. 22 Judge.
23 Go ahead. 23 THE COURT: I know. Overruled. Do not tell fF
24 BY MS. ALEXANDER: 24 us what he said. Just what he came back to report. i
25 Q. Do you have an understanding of how it was 25 What's next without telling us what he said nght now? i

Page 885 Page 887 :

1 that BDO came -- when BDO restarted the audit, they 1 THE WITNESS: He came to report to me and to

2 weren't going to ask for the customer documents any 2 the management as to BDO's new requirement, new set :

3 more? 3 of -- the new standard to meet their test of this

4 A. I'msorry? 4 particular collectibility area. §

5 MR. ALVAREZ: Objection. 5 BY MS. ALEXANDER: i

6 MS. ALEXANDER: That was not a great 6 Q. And what was that new standard? :

7 question. 7 MR. ALVAREZ: Objection. Calls for hearsay. [ff

8 THE COURT: Sustained. 8 THE COURT: Overruled.

9 BY MS. ALEXANDER: 9 THE WITNESS: They would be satisfied in {
10 Q. When BDO came back, it wasn't asking for 10 giving us -- I'm talking BDO, this is what :
11 documents from the Wal-Marts, from the customers; is 11. Mr. Parlapiano told me and told management -- with a :
12 that correct? 12 copy of Joy's check, our client's check, to Bankest :
13 A. That is correct. 13 Capital. And from -- I mean, and the proof of payment Hl
14 Q. And why wasn't BDO asking for those 14 oracheck from Bankest Capital to E.S. Bankest. i
15 documents any more? 15 MR. ALVAREZ: Objection. Move to strike. A
16 MR. ALVAREZ: Objection. 16 Hearsay.
17 THE COURT: What's your objection? 17 THE COURT: Overruled. :
18 MR. ALVAREZ: Calls for hearsay. Lack of 18 BY MS. ALEXANDER: :
19 personal information. 19 Q. Well, Mr. Mendez, you said that these were :
20 THE COURT: Do you have personal knowledge 20 fake transactions that Mr. Rivera was asking for :
21 of why, sir? 21 documents on. Is that right? H
22 It's a yes or no. Do you have personal 22 A. That is correct. :
23 knowledge? 23 Q. Well, if they were fake accounts receivable, f
24 THE WITNESS: No. 24 how were you able to give them a check from Joy to —
25 THE COURT: Sustained. 25 Capital? :

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 34 of 42

Page 888

14 (Pages 888 to 891)

Page 8905

 

 

 

 

 

 

 

 

 

 

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1 A. Because Joy was a client that we control 1 Q. And if it was a real transaction and you had
2 and Joy participated in the fraud. Joy provided our 2 acustomer check, you would provide it to BDO during the
3 company, Bankest Capital, with copies of blank checks, 3 course of their audit?
4 _ signed blank checks to enable us to, you know, complete, 4 A. Yes.
5 to fill out those checks to -- you know, for the amounts 5 Q. But after the restart of the audit in 1998,
6 that were needed for payment of those particular 6 if it was a fake transaction, you didn’t have a customer
7 invoices. But this was a check that was never deposited 7 ~~ check?
8 into the Bankest Capital account. 8 A. That is correct.
9 Q. When you provided BDO with a copy of a check 9 Q. And BDO -- after the restart of the audit,
10 from Joy to Capital, did they ask for any proof that 10 if you didn't have a customer check, BDO didn't ask for
11 that check had, in fact, been deposited into Capital's 11 ~~ sit?
12 account? 12 A. That is correct.
13 A. No. No, they didn't, no. 13 Q. Now, did BDO, after the restart of the
14 Q. Now, you said that Joy was one of the 14 audit, did they ask for any shipping documents that
15 companies that you controlled? 15 would show that the T-shirts from Joy to Wal-Mart had,
16 A. Basically, yes. Yes, we did. 16 in fact, been shipped on any of these fake transactions?
17 Q. And was that the reason why you could get 17 A, No.
18 fake checks from Joy? 18 Q. When the audit restarted, did BDO ask for
19 A. Yes. 19 any bank account statements from Joy or from Capital
20 Q. Did you control Wal-Mart or any of the other 20 that would show that a payment had, in fact, been made
21 customers who were factoring their accounts receivable? §/21 on any of these fake transactions?
22 A. No. 22 A. No.
23 Q. So were you able to fake customer checks? 23 Q. After the audit restarted in 1998, did you
24 A. Never, no. 24 know what would satisfy BDO when they came to conduct
25 Q. For the whole time this fraud was going on, 25 the audits?
Page 889 Page 891
1 you never faked a customer check? 1 MR. ALVAREZ: Objection. Calls for
2 A. Never. 2 speculation.
3 Q. And after the audit restarted BDO never 3 THE COURT: Sustained.
4 again asked for a customer check? 4 BY MS. ALEXANDER:
5 MR. ALVAREZ: Objection. Leading. 5 Q. After -- strike that. Did BDO ever require
6 THE COURT: Sustained. 6 you to hand over documents that would have revealed the
7 BY MS. ALEXANDER: 7 ~~ fraud?
8 Q. After the audit restarted in 1998, did BDO 8 MR. ALVAREZ: Objection. Calls for
9 ever ask for a customer check? 9 speculation and for an expert opinion on the part of the
10 A. No. No, they never asked. Payments that 10 witness.
11 supposedly came through Joy Athletic they never asked, 11 THE COURT: Overruled.
12 you know, from -- you know, for copies of customer 12 THE WITNESS: No.
13 checks, the origin of the payment. 13. BY MS. ALEXANDER:
14 Q. Well, for any transaction, did BDO after the 14 Q. And did BDO ever require you to provide them
15 audit restarted ever ask for a customer check? 15 with documents, with customer checks from the people who
16 A. Again, no, they never asked for customer 16 actually owed the money on the accounts receivable?
17 checks. Some customer checks were provided for some of § 17 A. No.
18 their real invoices because we did have them, but the 18 Q. And in 1999, 2000, 2001, and 2002, did BDO
19 vast majority of the receivables were fake. We didn't 19 ever require you to provide them with documents from the
20 have customer checks. We didn't provide them customer 20 people who actually owed the money on the accounts
21 checks because we didn't have them and they didn't ask 21 __ receivable, the customers?
22 for it either. 22 A. No.
23 Q. Soifit was a real transaction, you would 23 Q. And every year did you depend on the fact
24 have a customer check? 24 that BDO was not going to require you to provide them
25 A. Yes. 25 with documents from the customers, the ones who actually
—— = . CS

 
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 35 of 42

Page 892

15 (Pages 892 to 895)

   
   
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
   

Page 894 ff

 

1 owed the money? 1 Receivables, Financing and Factoring Corp.?

2 A. Yes. 2 A. Yes.

3 Q. And asa result, were you able to grow the 3 Q. And just looking through the attachment,

4 fraud? 4 does one of the attachments include BDO Seidman's

5 A. Yes. 5 audited financial statements for BRFFC?

6 Q. And as we saw in the audited financial 6 A. Yes.

7 statements, the fraud grew every year? 7 Q. And this is the document that would be

8 A. Yes. 8 provided to prospective investors in the company?

9 Q. And it involved hundreds of millions of 9 A. Yes.
10 ~~ dollars? 10 Q. Were these documents part of the files, were
11 A. Yes. 11 the PPMs such as this one part of the files at BRFFC?
12 Q. Mr. Mendez, I'd like to spend a little time 12 A. Yes. Yes.
13 now on background involving BRFFC and E.S. Bankest. You 9 13 Q. And were the PPMs part of the files that BDO
14 testified that BRFFC raised money to purchase accounts 14 as auditor of BRFFC would review when it came to audit
15 receivable. How would BRFFC raise money to purchase 15 the company?
16 accounts receivable? 16 A. Yes, they would review the PPMs as well.
17 MR. ALVAREZ: Objection as to relevance. 17 ~=Yes.
18 THE COURT: Overruled. 18 Q. So you made available to the auditors who
19 THE WITNESS: BRFFC put together a program 19 came to the offices of the company copies of the PPMs_.
20 for investors, for lenders to lend monies to the company 20 = which attached BDO's audited financial statements?
21 and monies that -- or loans that would be 21 A. Yes.
22 collateralized, secured, backed by accounts receivables. 22 Q. So BDO knew that BRFFC was attaching the
23 The company, Bankest Receivables, would 23 audited financial statements to the private placement
24 issue, you know, notes or debentures in favor of these 24 memorandums provided to the investors?
25 lenders. These were basically promissory notes that 25 MR. ALVAREZ: Objection, Judge. Leading and

Page 893 Page 895

1 would be repaid from the collection of those 1 calls for speculation on the part of the witness.

2 receivables. 2 THE COURT: Sustained. It’s leading.

3 A private placement memorandum, which is a 3. BY MS. ALEXANDER:

4 document that typically explains the nature of the 4 Q. How would BDO know that the audited

5 transaction, it would be provided to the lenders and 5 financial statements were attached to the private

6 that memorandum, typically called PPMs, it would have 6 placement memorandums that the company provided its

7 attachments to it. 7 investors?

8 But the most important document that would 8 A. Two ways. One, because the copy that were

9 be attached to that document, it was the audited 9 maintained in the office would customarily have the most
10 financial statements -- 10 recent audited financial statements attached to it. But
11 MR. ALVAREZ: Objection. 11 before we ever entered into this program, it was clearly
12 THE COURT: Overruled. 12 expressed by my company, by me and the other officers of
13 THE WITNESS: -- by a nationally recognized 13 the company, that the audited financial statements were
14 audit firm. That was a basic requirement that we had to 14 needed to raise funds from the investors and they were
15 be able to access funding from all these investors and 15 going to be attached in the package to be sent to
16 from the bank. 16 _ prospective investors.
17 MS. ALEXANDER: May I approach, Your Honor? $17 Q. When E.S. Bankest was formed, what happened
18 THE COURT: You may. 18 to the investment that had been made in BRFFC?
19 BY MS. ALEXANDER: 19 A. Most of the notes or debentures that were
20 Q. (Complies). 20 outstanding, the investments that the predecessor
21 Mr. Mendez, I'm approaching with Plaintiffs’ 21 company BRFFC had received, most of those investments
22 235 in evidence. Can you identify this document forme? §22 were rolled over to the new company.
23 A. Yes. 23 So, in other words, investors for BRFFC
24 Q. _ Is this a private placement memorandum as 24 became investors of E.S. Bankest. :
25 you were just describing like the ones used by Bankest 25 Q. And what about the accounts receivable

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08

Page 36 of 42

 

 

16 (Pages 896 to 899)
Page 896 Page 898 &

1 portfolio at BRFFC, what happened to that when E.S. 1 A. Yes.

2. Bankest was formed? 2 Q. And who were the members of the board of

3 A. The same way. The portfolio receivables was 3 directors?

4 sold to E.S. Bankest. It was transferred over to E.S. 4 A. There were eight members. Four that

5  Bankest to continue collateralizing the investments. 5 belonged to Bankest Capital Corp., the operating

6 Q. In terms of the investors and the initial 6 _ partner, and the remaining four from the Espirito Santo

7 accounts receivable owned by E.S. Bankest, E.S. Bankest 7 Bank.

8 was the successor to BRFFC? 8 Q. And who were the ones appointed from

9 A. Yes. Yes, it was. 9 Espirito Santo Bank?
10 Q. And did the factor clients -- were the 10 A. F'm sorry?
11 factor clients of BRFFC moved over to E.S. Bankest? 11 Q. Who were the -- what were the individuals
12 A. Yes. 12 who were appointed by Espirito Santo Bank? ;
13 Q. And was the day-to-day management of BRFFC §13 A. The four individuals were Victor Balestra, i
14 ‘the same at E.S. Bankest? 14 Bernard Mollet, Joachin Garnecho, Pierre Trazzini. ;
15 A. The same, yes. 15 Q. And did any of those individuals have any :
16 Q. Now, one difference between BRFFC and E.S. 16 day-to-day responsibilities at E.S. Bankest? :
17 Bankest was the ownership; is that right? 17 A. No.
18 A. That's correct, yes. 18 Q. And were there regular board meetings held
19 Q. And who owned E.S. Bankest? 19 at ES. Bankest? ;
20 A. E.S. Bankest was owned 50 percent by Bankest 20 A. Yes, customarily there were monthly :
21 Capital Corp. which basically it's the Orlanskys, and 50 21 meetings.
22 percent -- the other 50 percent owned by Espirito Santo 22 Q. And did the Capital and Espirito Santo Bank :
23 _ Bank of Florida. 23 board members attend those meetings? ;
24 Q. And who were the day-to-day managers of E.S. 24 A. Yes.
25 _ Bankest? 25 Q. Not all the members were in all the

Page 897 Page 899

1 A. Bankest Capital Corp. 1 meetings, particularly --

2 Q. And that includes yourself? 2 MR. ALVAREZ: Objection --

3 A. Yes. 3 THE WITNESS: -- there were members that --

4 Q. And did that also include Hector Orlansky? 4 MR. ALVAREZ: -- lack of personal knowledge

5 A. Yeah, it would be basically myself, Eduardo 5 as to who was present at the meeting.

6 and Hector Orlansky, Dominick Parlapiano, Ariadna 6 THE COURT: Only if you have personal

7 Puerto, you know, among other people. These were the 7 knowledge, sir. Do you have personal knowledge, sir?

8 main -- Peter Stanham, I'm sorry. 8 THE WITNESS: Yes.

9 Q. And was Bankest Capital responsible then for 9 THE COURT: Overruled.
10 the day-to-day management of E.S. Bankest? 10 THE WITNESS: There were members that
11 A. Yes. 11 resided overseas or out of town and not always attended
12 Q. And did Espirito Santo Bank have a 12 the meetings in person. Some meetings were conducted
13 responsibility as part of its role as the 50 percent 13 over the phone, sometimes.
14 owner of the company? 14 BY MS. ALEXANDER: 5
15 MR. ALVAREZ: Objection. Calls for a legal 15 Q. And was information provided the board :
16 conclusion. 16 members in connection with the monthly meetings? :
17 THE COURT: Overruled. 17 A. Yes. ;
18 THE WITNESS: Yes. The bank, the other 50 18 Q. What was the information provided the board
19 percent owner, had the responsibility to secure funding, 19 members? :
20 you know, for -- to be able to buy the accounts 20 A. There were monthly -- i
21 receivable. So the investors, the lenders, came from 21 MR. ALVAREZ: Objection. Lack of personal i
22 Espirito Santo Bank or were clients of the bank. 22 knowledge. ;
23 BY MS. ALEXANDER: 23 THE COURT: Do you have personal knowledge, q

Q. And did E.S. Bankest have a board of
directors?

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 37 of 42

Page 900

17 (Pages 900 to 903)

    
  
   
   
  
   
  
  
   
  

Page 902 —

 

1 THE COURT: Overruled. 1 THE COURT: You may.
2 THE WITNESS: Yes. I was one of the persons 2 BY MS. ALEXANDER:
3 that put together the package to be presented to the 3 Q. Mr. Mendez, I'm approaching with what is
4 board of directors. Although I didn't participate in 4  Plaintiffs' Numbers Exhibit 107, 109, 98-B and 104 in
5 the meetings but I prepared the financial report for the 5 evidence. I'm looking first at Exhibit 107, the January
6 board which included, you know, financial statements, 6 1st, 2002 confidential memorandum.
7 accounts receivable ages which basically is a detail of 7 Is this an example of the confidential
8 all the receivables that the company had in its books. 8 memorandum that E.S. Bankest would send to its
9 There was, you know, discussions — I mean 9 perspective investors to solicit investment in the
10 analysis as to the portfolio of the receivables. And 10 company?
11 customarily that was presented for the board's 1. A. Yes.
12 discussions. 12 Q. I'm turning to the back. I have labeled ES
13 MS. ALEXANDER: May I approach, Your Honor? 9/13 0256512. Are the audited financial statements that
14 BY MS. ALEXANDER: 14 were prepared by BDO Seidman attached to that document?
15 Q. Mr. Mendez, I'm approaching with Plaintiffs’ 15 A. Yes.
16 Exhibit Number 6 in evidence, the shareholders’ 16 Q. And part of what the -- what you were
17 agreement between Espirito Santo Bank and Bankest 17 _ responsible for doing at E.S. Bankest was ensuring that
18 Capital. 18 the PPMs, including the audited financial statements,
19 As part of the day-to-day management of the 19 were attached and sent to the perspective investors?
20 company, are you familiar with this document? 20 A. Yes.
21 A. Yes, 1am. 21 Q. I'm looking now at Exhibit 109, the July
22 Q. And this was essentially the formation 22 1st, 2002 confidential memorandum. Do you have that in
23 agreement for E.S. Bankest? 23 front of you?
24 A. Yes. 24 A. Yes. Yes.
25 Q. And looking now at page 12, paragraph 2, can 25 Q. And again, is this a copy of --
Page 901 Page 9036
1 youread that? "Within 90 days after the close of each 1 MR. ALVAREZ: What exhibit is that?
2 fiscal year, the officers of the company shall cause to 2 MS. ALEXANDER: 109.
3 be delivered to each of the shareholders a full and 3. BY MS. ALEXANDER:
4 complete audited financial statement of the company for 4 Q. And again, is this a copy of the
5 such fiscal year prepared by the independent auditors of 5 confidential memorandum that would be sent to E.S.
6 the company." Did I read that correctly? 6 Bankest perspective investors to solicit investment in
7 A. Yes. 7 ~~ the company?
8 Q. And were the independent auditors of the 8 A. That is correct.
9 company BDO Seidman? 9 Q. And is this also attached to the audited
10 A. Yes. 10 financial statements of BDO Seidman at the back?
11 Q. And was it a condition of this company's 1i A. Yes.
12 existence that it have audited financial statements by 12 Q. I'm looking now at Exhibit 104, which is the
13 anindependent auditor like BDO Seidman? 13 = July Ist, 2001 confidential memorandum. Is this a copy
14 MR. ALVAREZ: Objection, Judge. Calls for a 14 of the confidential memorandum that E.S. Bankest sent to
15 legal conclusion and interpretation of the document as 15 the perspective investors to solicit investment in the
16 part of the (inaud.). 16 company? i
17 THE COURT: Overtuled. 17 A. Yes. :
18 THE WITNESS: Yes. 18 Q. And do you see that the audited financial :
19 BY MS. ALEXANDER: 19 statements prepared by BDO Seidman are attached at the |
20 Q. And we discussed how BRFFC raised monies 20 ~~ back? :
21 through the payment of debenture notes using a PPM. Did § 21 A. Yes. ;
22 the same system exist for E.S. Bankest? 22 Q. I'm looking now at Exhibit 98-B, the June ;
23 A. The same system. 23 10th, 1999 confidential memorandum. Do you see that :
24 MS. ALEXANDER: One second. May I approach, 24 document? :
25 Your Honor?

 
 

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A. Yes, I do.
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 38 of 42

18 (Pages 904 to 907)

 

 

 

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Page 904 Page 906
1 Q. Now, does this look like the -- again, the 1 Mr. Mendez, I'm approaching with what is
2 confidential memorandum that would be sent to the 2 part of Plaintiffs’ Exhibit 110-A in evidence,
3 clients, the perspective -- excuse me, to the 3 _ confidential memorandum subscription documents.
4 perspective investors in E.S. Bankest? 4 Now, in addition to the private placement
5 A. Yes. 5 memorandum that was sent to the perspective investors,
6 Q. If you turn to the back of this document, 6 did you also send them a subscription document?
7 are the audited financial statements prepared by BDO 7 A. Yes.
8 Seidman attached to this copy? 8 Q. And what was the subscription document?
9 A. No. 9 A. Subscription document, it's a document for
10 Q. Why not? 10 the investor to sign when they decide to make the
11 A. I don't know but it was -- 11 investment. Basically it has a questionnaire that the
12 MR. ALVAREZ: Objection. 12 investor has to answer confirming that they understand
13 THE WITNESS: -- common practice. 13 the investment and also that they qualified as an
14 THE COURT: Hold on. Repeat the question. 14 investor according to security laws.
15 BY MS. ALEXANDER: 15 And this subscription agreement, once it's
16 Q. The question was why not? 16 signed -- completed and signed by the investors, it's
17 MR. ALVAREZ: Objection. 17 returned to the company, to E.S. Bankest or Bankest
18 _ THECOURT: The previous question before 18 Receivables.
| 19 that. 19 Q. So to solicit investments from perspective
20 MS. ALEXANDER: I asked him whether the 20 investors, the company would send a private placement
21 audited financial statements prepared by BDO Seidman 21 memorandum with a subscription document?
22 were attached to the copy that is Plaintiffs’ Exhibit 22 A. Yes,
23  98-B, the June 10th, 1999 confidential memorandum. 23 Q. And would you get -- you would get the
24 THE COURT: And you said no, is that 24 subscription document back from the customer signed?
#25 correct, Mr. Mendez? 25 A. That is correct.
Page 905 Page 907 f
1 THE WITNESS: Yes, I said no. 1 Q. Would you get the private placement
2 THE COURT: The next question is why not. 2 memorandums back?
3. Do you have personal knowledge as to why not? 3 A. No.
4 THE WITNESS: No, I don't -- I don't know 4 Q. And were the subscription documents
5 — why it was not attached. I don't. 5 maintained in the files of E.S. Bankest?
6 THE COURT: Sustained. 6 A. Yes.
7 BY MS. ALEXANDER: 7 Q. And were the subscription documents part of
A 8 Q. Were the copies -- by June 1999 had BDO 8 the funding agreements relied on by the company as part
9 Seidman issued audited financial statements for E.S. 9 of the operations?
10  Bankest? 10 A. Yes.
11 A. Yes. 11 Q. Now, in addition to the investment raised A
12 Q. And were those audited financial statements 12 through the private placement memorandums with :
13 attached to the confidential memorandum that were sent § 13 individual investors, did E.S. Bankest also have another =F
14 to the perspective investors in E.S. Bankest? 14 source of funding?
15 A. Yes. Yes, it was customarily attached to 1s A. Yes. H
16 sit, yes. 16 Q. And what was that? :
17 Q. And that was the practice of the company? 17 A. That was a line of credit extended by :
18 A. That was -- exactly right. That was a 18 Espirito Santo Bank Nassau branch. ;
19 practice. Exactly. It was critical. We had -- that we 19 Q. And did you provide Espirito Santo with the i
20 have an audited financial statements available, we would § 20 audited finances in connection with obtaining a line of :
21 always attach it to a memorandum. 21 credit? f
22 MS. ALEXANDER: May I approach, Your Honor? 9 § 22 A. Yes, it was a requirement. :
23 THE COURT: You may. 23 Q. And how much was that line of credit ‘
24 BY MS. ALEXANDER: 24 initially? i
25 Q. (Complies). 25 A. Three million dollars. :

 
Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 39 of 42

19 (Pages 908 to 911)

 

 

Page 908 Page 910
1 Q. And did that line of credit increase? 1 detail activity for the whole year. That was on the
2 A. Yes. 2 receivables side which was the main area of their audit.
3 Q. And what was the total amount that it 3 And then on the investment side, on the
4 increased to? 4 funding side, they would be provided with copies of the,
5 A. Thirty. Thirty million. 5 you know, of the recent PPMs that they had not seen over
6 Q. And did you -- was BDO Seidman aware of the 6 the year, you know. They would be provided with
7 line of credit from Banco Espirito Santo Nassau branch? 7 subscription agreements as they requested it because
8 A. Certainly. 8 they had the whole list of investors. Basically, you
9 Q. And was BDO aware that the audited financial 9 know, everything that they requested.
10 statements had been provided Banco Espirito Santo in 10 Q. I'm going to break that down a little bit.
11 connection with that line of credit? 11  Soone thing you would provide them with is copies of
12 MR. ALVAREZ: Objection. Calls for 12 the formation agreements including the shareholder
13 speculation on the part of the witness. 13 agreement that we looked at before?
14 THE COURT: Sustained. What was the last 14 A. Yes.
15 part? 15 Q. And you would also provide them with
16 MR. ALVAREZ: Calls for speculation on the 16 agreements concerning how the company was raising money?
17 part of the witness. 17 A. Yes.
18 THE COURT: I got it. She didn't get it. 18 Q. And that would include the line of credit
19 Overruled -- I'm sorry. Sustained. 19 agreements?
20 BY MS. ALEXANDER: 20 A. As well.
21 Q. When BDO Seidman came to audit E.S. Bankest, 21 Q. Copies of the PPMs?
22 did you provide them as the point person for the audit 22 A. Yes.
23 _—-with a line of credit loan agreements? 23 Q. Copies of the subscription documents?
24 A. Yes. 24 A. Yes.
25 Q. And did you inform the auditors that the 25 Q. And then you would also provide them with
Page 909 Page 911
1 company E.S. Bankest was providing Banco Espirito Santo 1 annual information concerning the accounts receivable
2 Nassau branch with audits, the audited financial 2 portfolio?
3 statements in connection with receiving that loan? 3 A. Yes. Accounts receivable aging, yes.
4 A. Yes. 4 Q. And when you gave them information regarding
5 MR. ALVAREZ: Objection. 5 the accounts receivable portfolio, did you give them
6 THE COURT: Overruled. 6 information regarding that whole year's worth of
7 BY MS. ALEXANDER: 7 ~~ transactions?
8 Q. Now, as the point person for the BDO audits, 8 A. Yes. We used to provide -- I mean we
9 did you meet with the BDO auditors every year? 9 provided them information -- in the last few years after
10 A. Yes. 10 the year 2000 in an electronic base. Everything was
11 Q. And how long -- when BDO came to audit E.S. 11 transmitted electronically so they had access to all the
12  Bankest, how long did it stay at the company? 12 transactions that took place in the company.
13 A. Atleast four weeks. 13 Q. And these were the documents prepared
14 Q. Every day for about four weeks? 14 internally by the company?
15 A. Pretty much full time for four weeks. 15 A. As well, yes.
16 Q. And did you provide the auditors with 16 Q. So that -- I'm sorry. These were documents
17 information about the company? 17 prepared internally by the company?
18 A. Yes. 18 A. That is correct.
19 Q. What did you -- what was the kind of 19 Q. And so when they saw the accounts receivable
20 information that you provided the BDO auditors? 20 reports, the aging reports, that would be a year-end
21 A. Well, there was, other than incorporation of 21 __ report for all of the accounts receivable purchased by
22 papers and, you know, which was pretty much the same 22 ~+the company?
23 every single year, they were provided with detail, 23 A. Yeah. Those -- the aging report has the
24 general ledger, you know, detailed balance sheet, income 24 receivables that are outstanding as of year-end.
25 statement, trial balance, accounts receivable aging 25 However, we provided them with, you know, with complete,

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 40 of 42

20 (Pages 912 to 915)

 

 

 

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Page 912 Page 914 Ff
1 you know, general ledger activity reports so they had 1 know about it.
2 access to details for the whole year. 2 Q. So when Bankest wanted to confirm when
3 Q. Soin addition to the year-end, what the 3 accounts receivable were going to be paid, its
4 accounts portfolio looked like at year-end, you would 4 collections department would call the customer, the one
5 also provide them with information during that year? 5 who actually owed the money?
6 A. That is correct. 6 A. Yes.
7 MR. ALVAREZ: Objection. Leading. 7 Q. And BDO knew that that's what the
8 THE COURT: Overruled. 8 collections department did at E.S. Bankest?
9 BY MS. ALEXANDER: 9 A. Yes.
10 Q. And were those year-end accounts receivable 10 MR. ALVAREZ: Objection, Judge. Lack of
11 reports the same as what would be provided to the board $11 _ personal --
12 of directors in the board of director meetings? 12 THE COURT: Overruled.
13 A. Yes. 13. BY MS. ALEXANDER:
14 Q. Now, in addition to providing or receiving 14 Q. I'm going to turn to a little bit later on.
15 information from Bankest about accounts receivable, 15 Did there come a time when Bankest Capital purchased
16 portfolio funding, operations, did BDO Seidman auditors {16 Espirito Santo Bank's 50 percent interest in E.S.
17 also do a walk-through of Bankest's offices as part of 17  Bankest?
18 ‘the audits? 18 A. Yes.
19 A. Yes. 19 Q. And when was that?
20 Q. And did they review the operations of 20 A. It was in September of 2002.
21‘ yarious departments at Bankest? 21 Q. And why did Bankest Capital purchase
22 A. Yes. They would walk through, like you 22 Espirito Santo Bank's 50 percent interest?
23 said. I mean through the whole office and based on each = § 23 A. Because Bankest Capital was offered by
24 department and see how each department operated. 24 Espirito Santo Bank, the 50 percent owner, you know, to
25 Q. And Bankest had a collections department, 25 _ buy Espirito Santo -- offered Bankest Capital to buy the
Page 913 Page 915
1 right? 1 company, to buy the 50 percent ownership of Bankest
2 A. Yes. 2 Capital. But Bankest Capital could not sell -- we could
3 Q. And it had a collections department because 3 not sell. We had a huge fraud in the company. And so
4 there were some real transactions where there was real 4 we were forced to buy them out instead of selling.
5 accounts receivables to be collected? 5 Q. And did the company E.S. Bankest default on
6 MR. ALVAREZ; Objection. Leading. 6 the money it owed to Espirito Santo and its customers
7 THE COURT: Overruled. 7 after the sale when Bankest Capital became the hundred
8 THE WITNESS: Yes. Yes. 8 percent owner?
9 BY MS. ALEXANDER: 9 A. Yes, immediately.
10 Q. And when the Bankest collections department 10 Q. And what was the outstanding amount of the
11 wanted to verify that accounts receivable was real and 11 loans at that time?
12 _ was going to be paid, how did it do that? 12 A. It was in excess of 170 million dollars. It
13 A. Well, the collections department would be 13 was 30 million owed for the line of credit to the bank
14  ealling all day, you know, all day to customers, 14 directly to Espirito Santo Bank. And in excess of 140
15 companies who owed the money to learn about the status {15 million to individual investors, you know, the note
16 of their receivables. 16 holders.
17 In the case of, you know, the larger 17 Q. And so by September of 2002, E.S. Bankest
18 retailers such as Wal-Mart, Target, JC Penney, there 18 defaulted on the -- at least part of the 170 million it
19 were hotlines that we could call, you know, toll-free 19 owed to Espirito Santo and its customers?
20 numbers that we could call and you access through 20 A. Yes. The line of credit, you know, we had
21 passwords and, you know, into their system to learn 21 an automatic immediate default of the whole line.
22 about the status of the receivables that were being 22 Because as the company was sold, the line of credit
23 scheduled for payment or if they were being still unpaid 23 became due and payable. So we didn't pay it. We
24 for they would tell you the reasons, which showed they 24 ~~ defaulted.
25 were not in the system that these retailers would not 25

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Q. And that was 30 million dollars?

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08

Page 916

Page 41 of 42

21 (Pages 916 to 919)

  
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  
 

Page 918 B

 

1 AL Thirty million dollars right in the first 1 outstanding?
2 day. And every day the default was increased, the 2 A. Yes. There was a restructure of the debt.
3 default on the notes from the investors. As the notes 3 Q. And what was going to happen to the 140
4 became due every single day, we didn't pay them. We 4 million dollars that had been vested by the Espirito
5 couldn't pay them. We defaulted. 5 Santo customers in connection with the restructuring of
6 Q. Mr. Mendez, maybe you could find in the 6 the 170 million?
7 stack of documents that I've given you Plaintiffs’ 7 A. The bank was -- or took assignments of all
8 Exhibit 81, the audited financials for 2001. 8  thenotes. In other words, repaid all the note holders
9 A. (Complies). 9 and repaid them -- I mean, all the past due -- all the
10 Q. And if we could go to the balance sheet. 10 defaulted notes were repaid and as the notes came due,
11 A. (Complies). 11 ‘the bank repaid all the note holders and they
12 Q. And if you could turn to the balance sheet? 12 _ consolidated the debt in one agreement, the debt to
13 A. Sure. 13 Espirito Santo Bank as well as the debt to the note
14 (Complies). 14 holders that the bank took over and they rescheduled the
15 Q. Looking at the accounts receivable again. 15 repayment of the total consolidated debt.
16 Nowat year-end 2001, BDO certified that company had 153 § 16 Q. And as of September of 2002, did you have an
17 million dollars in accounts receivable available to 17 understanding as to what Espirito Santo entity was going
18 repay the loans to Espirito Santo and its customers. So 18 to take on this assignment of the notes?
19 how did you explain to Espirito Santo in September of 19 A. Yes.
20 2002 why it couldn't repay, the company couldn't repay 20 Q. And what was the entity?
21 _ its loan to Espirito Santo? 21 A. I'msorry?
22 A. Well, we had to continue in operation. We 22 Q. Iasked you whether you had an understanding
23 had to continue funding our existing clients -- 23 as to what Espirito Santo company was going to take an
24 MR. ALVAREZ: Your Honor, I'm going to 24 assignment of the 140 million dollars in debenture
25 object to the narrative. She asked a question how did 25 notes.
Page 917 Page 919
1 you explain. My objection is -- 1 A. Yes.
2 THE COURT: I got your legal objection. 2 Q. And do you remember what that company was
3 Overruled. 3 named?
4 MR. ALVAREZ: -- lack of predicate. 4 A. Weil, at the very beginning I didn't know
5 THE COURT: Overruled. 5 the name of the Espirito Santo entity that was going to
6 THE WITNESS: The company didn't have 6 take the assignment. Certainly as negotiations
7 sufficient operating capital to repay the debt and to 7 progressed and we learned about the entity that was
8 continue funding its clients. And even though the notes 8 going to take the assignment --
9 and the loans were supposed to be repaid by the 9 Q. You understood that as part of the
10 collection of the receivables, it cannot be, you know, 10 restructuring Espirito Santo was going to consolidate
11 accomplished, you know, within -- I mean within just a 11 all the debt to itself, the 140 owed by its company it
12 few days. We had to restructure the repayment of the 12 was going to take an assignment and then there was going
13 debt in a way that the company would continue in 13 to be the 30 million from Banco Espirito Santo?
14 — operations and would be able to, you know, to make the 14 A. Yes.
15 payments. 15 Q. Now, did Espirito Santo require any comfort
16 BY MS. ALEXANDER: 16 that there was accounts receivable available to repay
17 Q. So essentially what you're describing is a 17 this 170 million dollar loan?
18 cash flow problem? 18 MR. ALVAREZ: Objection. Calls for hearsay.
19 A. Tremendous, we were in a very serious cash 19 Lack of personal knowledge.
20 crunch. The company didn't have any money. Once [20 THE COURT: Sustained.
21 Espirito Santo cut the funding, and no more note 21 BY MS. ALEXANDER:
22 holders, the company didn't have any money. 22 Q. In the negotiations leading up to the
23 Q. And asa result of the default and the 23 restructuring agreement, did you understand that
24 explanation to Espirito Santo, did the company 24 Espirito Santo was going to require comfort regarding

 

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the existence of the accounts receivable as a condition

 

 

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Case 06-01220-AJC Doc 230-7 Filed 09/16/08 Page 42 of 42

 

 

 
  
   
  
  
  
   
   
  
   
   
  
 

   
    
  
  
  
  
   
  
  
  
  
  
   
 
  
  

 

   
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
   

company, you know, an extended period of time for the

 

 

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22 (Pages 920 to 923)
Page 920 Page 922 :
1 _ to entering into the restructuring agreement? 1 repayment of the debt.
2 MR. ALVAREZ: Objection. Lack of personal 2 So the topic of the meeting was the
3 knowledge, did you understand. Calls for hearsay. 3 restructure and the fact that Bankest Capital or rather
4 THE COURT: Do you have personal knowledge, 4 ES. Bankest needed to have continued audited financial
5 sir? 5 statements and we needed to provide to the new lender or
6 THE WITNESS: Yes. 6 the new consolidated lender. That was the essence of
7 THE COURT: Overruled. 7 the meeting.
8 THE WITNESS: Yes. Yeah. One of the 8 BY MS. ALEXANDER:
9 requirements, and a very important one, critical one, 9 Q. Previously you testified regarding the
10 was for the company to continue being audited and to 10 explanation provided to Espirito Santo for the default
11 provide the consolidated lender with audited financial 11 on the loans from Espirito Santo and its customers. Was
12 — statements and to continue having, you know, an 12 the same explanation given to Mr. Lenner?
13 independent, you know, nationally-recognized firm, 13 A. Yes. I mean, we told him that we could not
14 certifying the financial condition of the company. 14 repay with collections all the outstanding receivables.
15 BY MS. ALEXANDER: 15  Wehad to continue in business. So the company was
16 Q. And was it important that the independent 16 going to be killed by repaying everything as it matured.
17 auditor continue to be BDO Seidman? 17 Q. And you said that one of the reasons for the
18 A. It was very important for us, yes. 18 meeting was -- well, was one of the reasons for the
19 Q. Why is that? 19 meeting to obtain BDO's agreement to assist Bankest in
20 A. Because we had already -- we had already a 20 the restructuring agreement?
21 number of years of experience with BDO. We could 21 A. Yes. We wanted to -- the answer is yes.
22 anticipate, you know, the extent, the scope of their 22 And Bankest needed to give continued comfort to the
23 audits and we could prepare for it and continue 23 lenders and we needed BDO to make themselves available
24 perpetrating this fraud. 24 for any questioning as to the financial condition of the
Q. In September of 2002, did you participate in 25 company, as to the viability of the business.
Page 921 Page 923
1 ameeting with Sandy Lenner of BDO Seidman? 1 Q. And did Mr. Lenner in that meeting agree to
2 A. Yes. 2 make BDO available to assist Bankest in connection with
3 Q. And what was the purpose of that meeting? 3 the restructuring agreement?
4 A. The main purpose of the meeting was to 4 A. Yes.
5 discuss the restructure of the debt to the Espirito 5 Q. And did Mr. Lenner agree that BDO would :
6 Santo Group. 6 continue to audit E.S. Bankest? u
7 Q. So was one of the issues that was discussed 7 A. Yes. H
8 at the meeting the fact that the company had defaulted 8 Q. Now, as part of the negotiations of the
9 onsome of the money it owed to Espirito Santo and its 9 restructuring, did E.S. Bankest provide Espirito Santo is
10 customers? 10 with copies of the audited financial statements of ES. a
11 MR. ALVAREZ: Objection. Leading. Calls 11 Bankest? :
12 for hearsay. 12 A. Yes. }
13 THE COURT: Sustained. 13 Q. And did Mr. Lenner understand that the A
14 BY MS. ALEXANDER: 14 audited financial statements were being provided :
15 Q. Was the reason for the restructuring 15 Espirito Santo as part of the negotiations of the ;
16 = discussed in the meeting with Mr. Lenner? 16 restructuring agreement? \
17 MR. ALVAREZ: Objection. Calls for hearsay. 17 MR. ALVAREZ: Objection as to what :
18 THE COURT: Overruled. 18 Mr. Lenner understood. :
19 THE WITNESS: The main topic of discussion 19 THE COURT: Sustained. :
20 if not the only topic, it was the fact that Bankest 20 BY MS. ALEXANDER: 3
21 Capital -- I mean, yeah, Bankest Capital, the sole owner 21 Q. Was Mr. Lenner told in the meeting that E.S, i
22 of ES. Bankest was defaulting on the payments to 22  Bankest was going to be providing Espirito Santo with i
23 Espirito Santo and were trying to reach a restructure -- 23 the audited financial statements in connection with ;
you know, a restructure repayment schedule to allow the 24 negotiations of the restructuring agreement? :
25 B
